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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division



   In re ZETIA (EZETIMIBE)
   ANTITRUST LITIGATION


                                                 MDL No. 2:18-md-2836


   THIS DOCUMENT RELATES TO:
   All Direct Purchaser Actions



                          REPORT AND RECOMMENDATION
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           Before the court are Direct Purchaser Plaintiffs'                C'DPPs")^

   Motion for Class Certification, ECF No. 735, and Motion to Modify

   Their    Class    Definition,     ECF   No.    812.     Defendants    Merck^   and

   Glenmark^ oppose the first motion but not the second.                    For the

   reasons explained in greater detail below, I recommend that the

   court GRANT the Motion to Modify and GRANT IN PART the Motion for

   Class Certification.


                           I.    Statement of the Case


           The allegations underlying this multidistrict litigation have

   been set forth in great detail by this court in previous opinions.'^

   I therefore provide only a brief summary here.                 DPPs allege that

   Merck    and   Glenmark   entered       into   an   unlawful   reverse    payment




   ^ The named DPPs are FWK Holdings, LLC ("FWK"); Rochester Drug Co
   operative,       Inc.   C'RDC");    and    Cesar      Castillo,   Inc.    ("Cesar
   Castillo").

   2 "Merck" consists of Merck & Co., Inc.; Merck Sharp & Dohme Corp.;
   Sobering-Plough Corp.; Sobering Corp.; and MSP Singapore Co. LLC.

   3   "Glenmark"    consists   of    Glenmark    Pharmaceuticals       Limited   and
   Glenmark Pharmaceuticals Inc., USA, the                    latter    incorrectly
   identified as Glenmark Generics Inc., USA.

   ^ In re Zetia (Ezetimibe) Antitrust Litig., No. 2;18-md-2836, 2019
   WL 6122017, at *1-3 (E.D. Va. Oct. 15, 2019), R. & R. adopted as
   modified, 2019 WL 6977405 (E.D. Va. Dec. 20, 2019); In re Zetia
   (Ezetimibe) Antitrust Litig., No. 2;18-md-2836, 2019 WL 1397228,
   at *1-10 (E.D. Va. Feb. 6, 2019), R. & R. adopted as modified, 400
   F. Supp. 3d 418 (E.D. Va. 2019).
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   settlement agreement,^ which resulted in artificially inflated

   prices for     the   brand   drug Zetia (ezetimibe)        and   its generic

   equivalents.      DPPs' Am. Consolidated Class Action Compl. ("DPPs'

   Am.    Compl.")   HI 1-7,    184-221   (ECF    Nos.    253-1   (sealed),   315

   (public)).     Specifically, Glenmark, a generic drug manufacturer,

   agreed to refrain from launching the market's first generic version

   of Zetia - a blockbuster drug manufactured by Merck - for a period

   of roughly five      years, providing Merck           between $5.7 and $8.3

   billion in additional Zetia sales.             Id. HH 4, 193, 220-21.      In

   exchange, Merck agreed to drop patent infringement claims against

   Glenmark and to abstain from introducing its own generic version

   of Zetia (an "Authorized Generic") during the initial 180-day

   exclusivity period following Glenmark's generic entry, ensuring

   Glenmark's sole-generic-provider status.              Id. HH 4-5, 193, 198,

   201.    This type of agreement is referred to as a "No Authorized

   Generic" or "No-AG" agreement.         Id. HH 4, 193.      And in this case,

   according to DPPs, Defendants' No-AG agreement resulted in an $800

   million payment to Glenmark and supracompetitive purchase prices

   for both brand and generic Zetia.               Id.    HH 4, 6-7, 226, 270.

   Defendants    vigorously     dispute    this    characterization     of    the

   settlement.




   5     FTC V. Actavis, 570 U.S. 136, 140-41 (2013) (describing
   reverse payment settlement agreement).
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         On November 18, 2019, DPPs, one of three plaintiff groups,

   moved to certify the following proposed class:

         All persons or entities in the United States and its
         territories that purchased Zetia or generic Zetia in any
         form directly from Merck, Glenmark/Par [Pharmaceutical,
         Inc.], or any agents, predecessors, or successors
         thereof from July 1, 2012 until June 11, 2017. Excluded
         from the proposed Class are defendants Merck, Glenmark
         and Par, and their officers, directors, management,
         employees, parents, subsidiaries, or affiliates, and the
         government of the United States and all agencies
         thereof, and all state or local governments and all
         agencies thereof.

   DPPs' Mot. Class Certification 1 (ECF No. 735); see DPPs' Mem.

   Supp. Mot. Class Certification ("DPPs' Mem. Supp. Mot. Certify")

   2-3 (ECF Nos. 736 (public), 740 (sealed)).

         On   December     20,    2019,    this    court       held   that    the    direct

   purchaser rule announced in Illinois Brick Co. v. Illinois, 431

   U.S. 720 (1977), barred DPPs from pursuing damages stemming from

   direct     purchases    of    ezetimibe       from    Par      Pharmaceutical,      Inc.

   ("Par"),     which     had    entered    into        an   exclusive       distribution

   agreement with Glenmark to market the Glenmark generic.                           Zetia,

   2019 WL 6977405, at *14-19.           That ruling necessarily excludes from

   the class definition such purchases.

         On   January     17,    2020,    DPPs    moved      to    modify    their   class

   definition as stated below:


        All persons or entities in the United States and its
        territories that purchased Zetia or generic Zetia in any
        form directly from Merck, Glenmark/Par, or any agents,
         predecessors, or successors thereof from November 15,
        2014 until June 11, 2017. Excluded from the proposed
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         Class are defendants Merck, Glentnark and Par, and their
         officers, directors, management, employees, parents,
         subsidiaries, or affiliates, and the government of the
         United States and all agencies thereof, and all state or
         local governments and all agencies thereof.

   DPPs' Mot. Modify Class Definition 2 (ECF No. 812); see DPPs' Mem.

   Supp. Mot. Modify Class Definition 1            C'DPPs'   Mem. Supp. Mot.

   Modify") 1 (ECF No. 813). The only change in the proposed modified

   definition is a two-year reduction in the class period, which

   decreases the number of proposed class members from seventy to

   sixty-five.     DPPs' Mem. Supp. Mot. Modify 2.           As apparent, the

   proposed   definition    still   includes   claims     relating    to   direct

   purchases of ezetimibe from Par.®

         Defendants    oppose    class   certification,    arguing    that    DPPs

   cannot   satisfy    several    Federal   Rule   of     Civil    Procedure    23

   requirements,      namely,    numerosity,   typicality,        adequacy,    and

   predominance. See Defs.' Mem. Opp'n DPPs' Mot. Class Certification

   C'Defs.' Opp'n") 2 (ECFNos. 819 (public), 822 (sealed)). Although

   they do not oppose DPPs' motion to modify the class definition,

   Defendants maintain that the "proposed modification underscores

   DPPs' inability to satisfy the numerosity requirement."                 Defs.'




   ® In their Reply, DPPs recognize the effect of the court's prior
   ruling, but they maintain a reference to Par in the class
   definition to preserve arguments on appeal. DPPs' Reply Mem. Supp.
   Mot. Class Certification ("DPPs' Reply") 1 n.4 (ECF Nos. 871
   (public), 875 (sealed)). On March 6, 2020, the court approved a
   settlement between DPPs and Par, dismissing Par as a defendant.
   ECF No. 898.
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   Joint Resp. DPPs' Mot. Modify Class Definition 1 (EOF No. 842).

   The court heard oral argument on the motions on May 1, 2020.

           After   reviewing   the    parties'    extensive     briefing,   expert

   evidence, and arguments on the motions, I conclude that DPPs and

   their proposed class definition, as modified by DPPs and further

   modified in accordance with the court's prior ruling (i.e., the

   exclusion of claims arising from ezetimibe purchases from Par),

   satisfy the requirements of Rule 23.           Thus, this report recommends

   that the court grant DPPs' motion for class certification.

                                     II.    Analysis

         "The class action is 'an exception to the usual rule that

   litigation is conducted by and on behalf of the individual named

   parties only.'"      Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013)

   (quoting Califano v. Yamasaki, 442 U.S. 682, 700-01 (1979)).                 A

   party    seeking    to   invoke    this     exception    must   "affirmatively

   demonstrate [its] compliance" with the requirements of Federal

   Rule of Civil Procedure 23.             Wal-Mart Stores, Inc. v. Dukes, 564

   U.S. 338, 350 (2011); see also Brown v. Transurban USA, Inc., 318

   F.R.D. 560, 566 (E.D. Va. 2016) (stating that the party seeking

   class certification must prove each Rule 23 requirement by a

   preponderance of the evidence).

        At the same time, "the district court has an independent

   obligation to perform a 'rigorous analysis' to ensure that all of

   the prerequisites have been satisfied."                 Id. (quoting Wal-Mart
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   Stores, Inc., 564 U.S. at 350-51).            This analysis may require "the

   court to probe behind the pleadings before coming to rest on the

   certification question."          Gen. Tel. Co. of Sw. v. Falcon, 457 U.S.

   147, 160 (1982).      And it often "overlap[s] with the merits of the

   plaintiff's underlying claim."             Comcast Corp., 569 U.S. at 33-34

   (quoting Wal-Mart Stores, Inc., 564 U.S. at 351).                   To the extent

   the court must resolve disputes between the parties' experts in

   order   to   deteimiine      whether   a   particular     class     certification

   requirement    has    been    satisfied,      see   In   re   Hydrogen   Peroxide

   Antitrust Litig., 552 F.3d 305, 324 (3d Cir. 2008) (noting that

   such resolution, when necessary, is reserved for the court), any

   "determination       that    an    expert's     opinion       is   persuasive   or

   unpersuasive on a Rule 23 requirement does not preclude a different

   view at the merits stage of the case," id. ("Rigorous analysis

   need not be hampered by a concern for avoiding credibility issues;

   as noted, findings with respect to class certification do not bind

   the ultimate fact-finder on the merits.").

        Here, DPPs have moved to modify their class definition, and

   Defendants do not object.         Although Rule 23(c)(1)(C) permits courts

   to alter or amend         (before final judgment) a prior order that

   granted or denied class certification. Fed. R. Civ. P. 23(c)(1)(C);

   accord Henderson v. Corelogic Nat'l Background Data, LLC, No. 3:12-

   cv-97, 2016 WL 4611571, at *4 (E.D. Va. Sept. 2016); Milbourne v.

   JRK Residential Am., LLC, No. 3:12-cv-861, 2016 WL 1071571, at *3-
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    4, *8 (E.D. Va. Mar. 15, 2016), this court has not yet ruled on

    class certification.


         Nevertheless, in that same spirit, the court may permit a

    party to amend its class definition prior to a class certification

    ruling, just as the court itself may modify the definition upon

   consideration of a motion for class certification, when the result

   is a better-pled class definition.                  See Weisfeld v. Sun Chem.

    Corp., 84 F. App'x. 257, 259 {3d Cir. 2004) ("Despite failing to

    revise his complaint, Weisfeld sought to narrow the definition of

   the   class    in    his   motion    for   class    certification. . . .         The


   District     Court   considered     this   revised    class   definition    in   its


   analysis, and we will do the same." (citing Robidoux v. Celani,

   987   F.2d    931,   937   (2d    Cir.   1993)));   Abdeljalil v.    Gen.    Elec.

   Capital Corp., 306 F.R.D. 303, 306 (S.D. Cal. 2015) (permitting

   the plaintiff to narrow the class definition on a motion for class

   certification); Charron v. Pinnacle Grp. N.Y. LLC, 269 F.R.D. 221,

   229 (S.D.N.Y. 2010) ("A district court is not bound by the class

   definition proposed in the complaint, and is empowered to carve

   out an appropriate class." (internal quotation marks omitted)).

         In     light   of    this     discretion      and   Defendants'   lack     of

   opposition, I recommend that the court grant DPPs' Motion to Modify

   Their Class Definition, ECF No. 812, and thus will use the amended
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    proposed class definition, further modified by the exclusion of

    ezetimibe purchases from Par, in this analysis.''

    A.   Rule 23(a)

         Rule      23(a)    spells     out       four   prerequisites   to        class

    certification: "(1) the class is so numerous that joinder of all

    members is impracticable; (2) there are questions of law or fact

    common    to   the     class;    (3)   the     claims   or   defenses    of    the

    representative parties are typical of the claims or defenses of

    the class; and (4) the representative parties will fairly and

    adequately protect the interests of the class."               Fed. R. Civ. P.

   23(a).       Furthermore, "Rule 23 contains an implicit threshold

    requirement that the members of a proposed class be 'readily

   identifiable.'"         EQT Prod. Co. v. Adair, 764 F.3d 347, 358 (4th

   Cir. 2014) (quoting Hammond v. Powell, 462 F.2d 1053, 1055 (4th

   Cir. 1972)).      Courts often refer to this implicit requirement as

   "ascertainability."         Id.; see, e.g., Soutter v. Equifax Info.

   Servs., LLC, 307 F.R.D 183, 196 (E.D. Va. 2015).

         1.     Numerosity

         The numerosity prong requires that the proposed class be "so

   numerous that joinder of all members is impracticable."                   Fed. R.

   Civ. P. 23(a)(1). The Fourth Circuit has held that "[n]o specified




     Granting this motion does not require DPPs to further amend their
   consolidated complaint. See Henderson, 2016 WL 4611571, at *4.

                                             8
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    number is needed to maintain a class action."         Brady v. Thurston

    Motor Lines/ 726 F.2d 136, 145 (4th Cir. 1984). Generally, classes

    consisting of forty or more members are considered sufficiently

    large that joinder is presumed to be impracticable.               Am. Sales

    Co., LLC V. Pfizer, Inc., No. 2:14-cv-361, 2017 WL 3669604, at *6

   (E.D. Va. July 28, 2017), R. & R. adopted, 2017 WL 3669097 (E.D.

   Va. Aug. 24, 2017); In re Titanium Dioxide Antitrust Litig., 284

   F.R.D. 328, 337 (D. Md. 2012).

         Conversely, it is widely accepted that a class of less than

   twenty    members   is   insufficiently    numerous    to     satisfy     Rule

   23(a)(1).    See, e.g., In re Suboxone (Buprenorphine Hydrochloride

   & Naloxone) Antitrust Litig., 421 F. Supp. 3d 12, 46-47 (E.D. Penn.

   2019) (noting that "a class of fifteen to twenty is likely too

   small to meet the numerosity requirement" (citing In re Modafinil

   Antitrust Litig., 837 F.3d 238, 250 (3d Cir. 2016))); In re Namenda

   Direct Purchaser     Antitrust Litig.,     331   F.   Supp.   3d   152,   202

   (S.D.N.Y. 2018) ("For classes with fewer than twenty members,

   however, joinder is generally deemed practical." (citing cases));

   see also 5 William B. Rubenstein, Newberg on Class Actions § 3:12

   (5th ed. 2019 update) ("As a general guideline . . . a class that

   encompasses fewer than 20 members will likely not be certified

   absent other indications of impracticability of joinder.").

         Classes with between twenty and forty members require the

   court to closely scrutinize the practicability of joinder.                See
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    Ansari v. N.Y. Univ., 179 F.R.D. 112, 114 (S.D.N.Y. 1998); see

    also 5 William B. Rubenstein, Newberg on Class Actions § 3:12 (5th

    ed. 2019 update) ("Courts considering certification of classes

    numbering in the gray area between 20 and 40 are guided by a series

   of impracticality factors beyond numbers alone.").

         That being said, in the antitrust context in particular,

   courts have repeatedly certified classes encompassing anywhere

    between twenty and forty members.        See, e.g.. Am. Sales Co., 2017

    WL 3669604, at *9-10 (certifying class of thirty-two members);

   Mylan Phamns., Inc. v. Warner Chilcott Pub. Ltd. Co., No. 12-3824,

   2014 WL 631031, at *2 (E.D. Perm. Feb. 18, 2014) (twenty-three

   members); In re Prograf Antitrust Litig., No. 1:ll-cv-10344, 2013

   WL 2395083, at *1 (D. Mass. Apr. 23, 2013) (twenty-five members);

   In re Wellbutrin XL Antitrust Litig., No. 08-2431, 2011 WL 3563385,

   at *3 (E.D. Pa. Aug. 11, 2011) (thirty-three members); Meijer,

   Inc. V. Warner Chilcott Holdings Co. III., Ltd., 246 F.R.D. 293,

   306 (D.D.C. 2007) (thirty members).

                a.     Size of the Class


         DPPs    first    asserted   that   the    modified   proposed   class

   consisted of sixty-five members.         DPPs' Mem. Supp. Mot. Modify 2.

   However, this number included class members with claims arising

   from direct ezetimibe purchases from Par - claims this court found

   barred by the direct purchaser rule.           See Zetia, 2019 WL 6977405,

   at *14-19.        As DPPs now recognize, twenty-three of the original

                                       10
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    seventy proposed class members purchased only generic Zetia from

    Par.      See DPPs' Reply 1 & n.4; see also Defs.' Opp'n 8 & n.3.

    Those   twenty-three   members are       thus excluded from        the   class,

    bringing the number of proposed class members to forty-seven.

    DPPs'   modified    class   definition    shortening    the   class      period

   further reduces the proposed class by five members, thus totaling

   forty-two members.®

           Defendants   first     contest    DPPs'    ability     to    establish

   numerosity by arguing that several subgroups of class members

   should be excluded from the class outright or disregarded for

   purposes of the numerosity inquiry.               According to Defendants'

   calculation, DPPs' proposed class includes no more than twenty-

   three members - nearly half of the forty-two proffered by DPPs.

   Defs.' Opp'n 6.      First, Defendants note that the proposed modified

   class includes seven retailer plaintiffs that have brought their

   own suits.    Id. at 9.      Because these plaintiffs intend to proceed

   independently regardless of the court's decision with respect to




   ® Because the modified class definition differs from the original
   class definition only with respect to commencement of the class
   period - beginning November 15, 2014, instead of July 1, 2012 -
   the five members excluded by the modified definition must have
   purchased only brand Zetia from Merck as Glenmark did not launch
   a generic version until December 12, 2016. Therefore, the twenty-
   two members excluded by the court's previous judgment are in
   addition to the five members excluded by the modified proposed
   class definition.



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    DPPs' motion for class certification. Defendants urge the court to

    disregard   those     seven entities "when considering      whether the

    numerosity standard is met and joinder is practicable."               Id.

    Excluding the seven retailer plaintiffs would reduce the class

    size to thirty-five.

           Second, Defendants argue that six additional entities should

    be excluded from the class because they are subsidiaries of other

   class members, reducing the number of class members to twenty-

   nine.     Id. at 10.


           Next, Defendants argue that the court should exclude from the

   class the five members that purchased only brand Zetia during the

   class period, which includes three of the subsidiaries mentioned

   above.    Id. at 11-13.    According to Defendants, these "brand-only"

   purchasers would not have received higher discounts after generic

   entry and thus suffered no injury.       Id. at 12-13.

           Finally, Defendants seek to exclude four other members that

   their expert, Bruce Strombom, Ph.D., classifies as "idiosyncratic"

   purchasers - members that made so few purchases of the drug that

   "no reasonable assumptions can be made about" whether they suffered

   any injury due to delayed generic entry.         Id. at 13-14; Strombom

   Decl.    nil 47-56 (ECF Nos. 821 (public), 824 (sealed)).            Thus,

   Defendants aver, DPPs' proposed class includes at most twenty-

   three members, all of whom could be practically joined in this




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    action.    Defs.' Opp'n 14-15.         I address each of these arguments in

    turn.


                          i.     Retailer Plaintiffs


          First, Defendants argue that the court should not consider in

    its numerosity analysis the seven retailer plaintiffs - Walgreen

    Co.; The       Kroger      Co.; Albertsons Companies, Inc.; HEB Grocery

    Company L.P.; Rite Aid Corporation; Rite Aid Hdqtrs. Corp.; and

    CVS   Pharmacy,       Inc. - because      they   are       pursuing    their    claims

   independently from the class.            Id. at 9.      There is no dispute that

    the retailer plaintiffs are properly included in the proposed class

   definition.        "Under Rule        23, individuals are        considered       class

   members until they opt out of the suit, and the mere possibility

   that members of a potential class may choose to opt out in the

   future     is    not    enough   to   preclude    a   finding     of    numerosity."

   MacNamara v. City of New York, 275 F.R.D. 125, 142 {S.D.N.Y. 2011)

   (citations and internal quotation marks omitted).                     This is so even

   if such members have "filed suits on their own behalf."                         Id.   In


   this case, however, it is also beyond dispute that the seven

   retailer plaintiffs            will opt out of        the    class.      Indeed,      the

   retailer plaintiffs have separately pursued this litigation from

   the outset and have already opted out of DPPs' settlement with

   Par.     See ECF No. 898, at 2.       And DPPs conceded during oral argument

   that the retailer plaintiffs would opt out of any certified class

   and thus should not be included in the class number when evaluating

                                             13
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    practicability of joinder.         Mot. Certify Hr'g Tr. {''Hr'g Tr.")

    8:23-10:11   (EOF    No.   930).    This   report,   therefore,    does    not

    consider the       retailer    plaintiffs in its numerosity analysis,

    reducing the class to thirty-five members,

                       ii.   Subsidiaries


         Defendants next argue that six members - Bellco, Smith Medical

    Partners, Valley Wholesale, Harvard Drug, Burlington Drug, and H.

    D. Smith - should be excluded from the proposed class because they

    are subsidiaries of other members.          Defs.' Opp'n 10-11, 10 n.6.

    They should not.      Indeed, the court rejected this same argument in

   American Sales Co., 2017 WL 3669604.         In that case, the defendants

    urged the court to exclude five subsidiaries from the class on the

   ground that it constituted impermissible "double-count[ing]."              Id.

   at *6.     However, the court noted that the defendants' own sales

   data demonstrated that those subsidiaries had made ''independent

   purchases" of the drug Celebrex and thus "suffered independent

   injury."      Id.    at   *8.    Consequently,   those    subsidiaries     were

   properly included as separate class members.             Id.   The court made

   clear that "[u]nless there is evidence that Plaintiffs are trying

   to artificially inflate the number of class members, subsidiaries




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    should be considered as potential class members to vindicate their

    own antirust injury.       Id. (citing Modafinil, 837 F.3d at 251).

         The same reasoning applies in this case.                 Here, the six

    subsidiaries were identified by Merck's sales data, meaning that

    they made independent purchases of Zetia.        See Strombom Decl. Ex.

    2; see also Sobol Decl. Ex. 1 C'Leitzinger Decl."), H 8 & Ex. 8

    (ECF Nos. 737-1 (public), 741-1 (sealed)).         No evidence suggests

    that DPPs'    inclusion    of   these   subsidiaries   is an     attempt   to

   artificially inflate the number of class members.              Defendants say

   that DPPs have acted arbitrarily in their treatment of subsidiaries

   in that they have counted some subsidiaries as separate entities

    while combining others with their respective parent companies.

   Defs.' Opp'n 10.      However, DPPs' counsel explained in oral argument

   their justification for doing so.            The subsidiaries that DPPs

   combined with their parents no longer exist as separate entities;

   the subsidiaries that DPPs counted separately, on the other hand,

   still do.      Hr'g    Tr. 14:4-15:12.      This treatment is entirely

   consistent with the foregoing precedent.          These six subsidiaries




   ^ Relying on American Sales Co.'s reasoning, several courts have
   likewise    concluded    that    subsidiaries   that    have    suffered    an
   independent injury should be counted as separate class members.
   See In re Niaspan Antitrust Litig., 397 F. Supp. 3d 668, 677 (E.D.
   Penn. 2019); In re Loestrin 24 Fe Antitrust Litig., No. l:13-md-
   2472, 2019 WL 3214257, at *10 (D.R.I. July 2, 2019); Namenda, 331
   F. Supp. 3d at 207; In re Solodyn (Minocycline Hydrochloride)
   Antitrust Litig., No. 14-md-2503, 2017 WL 4621777, at *5 (D. Mass.
   Oct. 16, 2017).

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    are alleged to have suffered independent injuries and are thus

    properly counted as separate class members.             See Am. Sales Co.,

    2017 WL 3669604, at *8.

                      iii. Brand-Only Purchasers

          Defendants   further   claim   that   five   members      -    Caribe    Rx,

    Eveready Wholesale Drug, Bellco, Harvard Drug, and Smith Medical

    Partners^® - are brand-only purchasers and likely ''would not have

    bought generic Zetia if it had become available earlier."                Defs.'

   Opp'n 12 & n.7.         Therefore, the only way to prove that these

   entities sustained injury, according to Defendants, is to show

   that   those    class   members   would    have   paid   less   for     Zetia   by

   receiving    increased    discounts   once    generic    Zetia       entered    the

   market.     Id.   However, because "none of those class members did

   receive such additional discounts, there is no basis . . . to infer

   that they paid      an overcharge     at all."       Id.   at 12 (emphasis

   omitted).      In any event, demonstrating that brand-only purchasers

   suffered injury, either because they would have purchased generic

   Zetia had it been available sooner or because they would have




   10 Because this report rejects Defendants' argument that the latter
   three entities should be excluded from the class based on their
   subsidiary status, I will consider Defendants' alternative
   argument that they should be excluded because they are brand-only
   purchasers. See Defs.' Opp'n 12 & n.7; Strombom Decl. H 34 & n.42.

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    received    increased   discounts    on    brand   Zetia,    "will   require

    individualized proof.        Id. at 2.

         DPPs respond that four of these five entities - Caribe Rx,

    Eveready Wholesale Drug, Bellco, and Harvard Drug - "never had a

    chance to buy a less expensive generic" because, although they

    purchased   brand   Zetia   during   the   class   period,    they   stopped

    purchasing ezetimibe altogether before actual generic entry on

   December 12, 2016.       DPPs' Reply 6.     DPPs rely on Defendants' own

   sales data, which include the date of each entity's last Zetia

   purchase:    Eveready Wholesale Drug,        June   2015;    Bellco, October

   2015; Harvard Drug, December 2016; and Caribe Rx, December 2016.

   See Strombom Decl. Ex. 2.       Because Merck's sales data show only

   the month of purchase, it is unclear whether Harvard Drug's and

   Caribe Rx's last Zetia purchases occurred before or after generic

   entry on December 12, 2016; but DPPs assume that the sale occurred

   before generic entry.        See DPPs' Reply 6; Sobol Decl. Ex. 33

   ("Leitzinger Rebuttal Decl."), H 9 (ECF Nos. 872-1 (public), 875-

   1 (sealed)).    Consequently, these four entities' "lack of generic

   purchases reveals nothing about the likelihood that they would

   have converted some of their brand volumes into generics had the




       As  with  the   idiosyncratic  purchasers  discussed  below.
   Defendants' arguments in this respect implicate the predominance
   requirement.


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    option to do so been available          when they bought those brand

    volumes."    Leitzinger Rebuttal Decl. H 9.      Rather, DPPs' expert,

    Jeffrey Leitzinger, Ph.D., opines that but for Defendants' alleged

    anticompetitive behavior - that is, had generic entry occurred

    sooner - these brand-only purchasers almost certainly would have

    replaced at least some of their brand purchases with lower-priced

    generic purchases. Leitzinger Decl. ft 36-37; Leitzinger Rebuttal

   Decl. H 12.

         Dr. Leitzinger relies on four sources of ''common evidence"

   for this contention.       The first involves "literature and prior

   studies showing that generic competition (both generally and from

   AGs) results in prices that are substantially below the brand's

   prices and that the vast majority - often upwards of 90 percent -

   of the brand prescription base is typically converted to generics

   along with those lower prices."          Leitzinger Decl. t 23; see id.

    nil 25, 28 (citing FTC studies finding that generics sell, on

   average, at a price 85 percent lower than brand price and capture

   between 72 and 85 percent of brand's sales in the first six months

   and 90 percent in the first year).       Generally, the generic discount

   relative to brand prices increases significantly as the number of




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    generic competitors increases - typically, up until the fifth or

    sixth generic competitor.12     id. K 26.

         Brand   manufacturers     commonly    respond    to    robust    generic

    competition by launching an AG.           Id. H 29.     A 2011 FTC study

    determined that the presence of an AG drove dovm generic prices by

   7 to 14 percent.    Id. H 27.    Additionally, generic competition may

   cause brand manufacturers to lower brand price.             Id. f 29 (citing

    FTC study concluding that brand price decreased between 4 and 11

   percent after generic entry).

         Internal generic penetration models and forecasts from Merck,

   Glenmark, and Par also support Dr. Leitzinger's assertion.             ''These

   forecasts predict steep generic discounts and widespread generic

   conversion similar to the results attributed generally to generic

   competition in the literature."          Id. K 31.     One Merck forecast,

   for example, predicted the generic would sell at a 45 percent

   discount on the brand price with one generic competitor, and then

   at a 70 percent discount upon AG entry. Id. H 32. Another internal

   Merck document assumed that brand Zetia would retain roughly 30

   percent of all ezetimibe sales volume in the first six months of

   generic entry, and that by the second year, generic sales would

   account for 97 percent of ezetimibe purchases.                Id.     Internal




   ^2 After that point, the generic price is only marginally affected,
   if at all, by the entry of additional generic competitors. See
   Leitzinger Decl.       26, 58n.78; see also Strombom Decl. H 49 n.68.
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    forecasts by Glenmark and Par showed similar results.                  See id.

    H 33 (Par predicting discounts of 30 percent with one generic

    competitor, 50 percent with two generic competitors, and 90 percent

    with five generic competitors, and predicting 85 percent generic

    penetration rate in one year); id. H 34 (Glenmark forecasting 42

    percent   discount   with   one   generic   competitor     and    94   percent

    discount with five generic competitors, as well as a 95 percent

    generic penetration rate in three months).

         The third source of evidence relates to the class members'


    role as intermediaries in the pharmaceutical industry.            Id.      23,

   39, 42.    Specifically, "because class members are intermediaries

   in the chain of pharmaceutical distribution, there is no reason to

   think that any class member - whether a wholesaler or retailer -

   exclusively served a small enough fraction of the prescription

   base such that the class member would not benefit from generic

   competition."    DPPs' Mem. Supp. Mot. Certify 26 (citing Leitzinger

   Decl. nil 23, 39).

         The final source of evidence upon which Dr. Leitzinger relies

   to demonstrate that these putative class members suffered injury

   is the actual Zetia sales experience.               He notes that during

   Glenmark's    six-month   exclusivity     period,    even   with    just   one

   generic competitor, the average generic price discount on the brand

   wholesale acquisition cost ("WAC") was 50 percent.            Id. 11 36.    In

   June 2017, five more generics entered, increasing the average

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    generic discount to 97 percent. Id. & Ex. 4. The average discount

    on WAC that Merck provided for brand Zetia also increased from 9

    percent^^ to 19 percent. Id. H 36 & Ex. 6. Dr. Leitzinger's report

    further shows that within one year of generic entry, generic Zetia

    accounted for more than 90 percent of Zetia prescriptions, reaching

    99 percent by mid-2018.     Id. H 36 & Ex. 5.

          Aside from this data. Dr. Leitzinger analyzed data specific

   to   other   class   members.     For    example,   thirty   class   members

   purchased ezetimibe both before and after generic entry (i.e.,

   purchased brand Zetia before generic entry and purchased brand

   and/or generic Zetia after generic entry).            DPPs' Mot. Certify

   Hr'g   Presentation     C'DPPs'   Presentation")     12   (EOF   No.   927-1

   (sealed)) (citing Leitzinger Decl. f 43).              Of those members,

   twenty-nine converted at least some of their brand purchases to

   generic Zetia, id., and "directly experienced larger discounts off

   the brand WAC as a result," Leitzinger Decl. H 43.            According to

   DPPs, this evidence, combined with the other sources of common

   evidence described above, strongly indicates that the four members

   that stopped purchasing ezetimibe altogether before generic entry

   - Caribe Rx, Eveready Wholesale Drug, Bellco, and Harvard Drug -




  " In his trial report. Dr. Leitzinger revised this to 10 percent.
   See Sobol Decl. Ex. 34 ("Leitzinger Trial Report"), H 40 & Ex. 9
   (ECF Nos. 872-2 (public), 875-2 (sealed)).

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    would have substituted at least some of their brand purchases for

    generic had generic been available sooner.           DPPs' Reply 6-7.

           Dr. Leitzinger also reports that after generic entry, twenty-

    seven entities continued to purchase at least some brand Zetia.

    Leitzinger Decl. H 44. More than half of those entities, including

    the   fifth   brand-only   purchaser    at   issue    here.   Smith   Medical

    Partners, received higher discounts on those purchases as a result

    of generic competition.       Id.; Leitzinger Rebuttal Decl. H 13 &

    n.l3.    This evidence is critical for two reasons, according to

   DPPs.     First, it demonstrates that Smith Medical Partners suffered

   injury because, having received higher discounts on brand Zetia in

   the actual world, it would have received those discounts sooner in

   the but-for world with earlier generic entry.           DPPs' Reply 6 n.27.

   Second, in the unlikely event that the other four brand-only

   purchasers would not have substituted at least some of their brand

   purchases with generic, they likely would have received increased

   discounts on the brand price on at least some of their purchases.

   Leitzinger Rebuttal Decl. f 13.

          DPPs' evidence is sufficient to include the five brand-only

   purchasers in the class.       With respect to the first four brand-

   only purchasers. Defendants' expert. Dr. Strombom, argues that a

   more     individualized   assessment    of    these   specific   entities   is

   necessary in order to determine whether they would have purchased

   generic Zetia had it been available earlier, and thus whether they

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    should be included in the class.               See Strombom Decl. H 35 ("Dr.

    Leitzinger has not conducted any analysis to attempt to understand

    why these entities stopped buying any form of Zetia.").                   Notably,

    though,    Dr.   Strombom    offers       only   generalized      and   conclusory

    statements on this very point.            Although he proffers many "reasons

    why wholesalers may only purchase brand pharmaceuticals and never

    purchase generic pharmaceuticals,"" id. H 36 (emphasis added), at

    this stage, these theories cannot be tested with respect to these

   four entities because their last purchase of ezetimibe (in any

   form) occurred before generic entry.                  Nonetheless, Defendants

    maintain    that   "there    is    good    reason   to    presume   that    [these

   entities] would not have bought generic ezetimibe if it had become

   available earlier."       Defs.' Opp'n 12.

         Without more, the court should not exclude these four entities

   simply because they stopped purchasing Zetia before the actual

   date of generic entry.             That fact alone does not affirmatively

   demonstrate that these entities would not have purchased generic

   Zetia had it been available earlier. See Leitzinger Rebuttal Decl.




   14   «For   example,   many   retailers         purchase   brand   drugs    through
   wholesalers    but   purchase  generic   drugs   directly   from
   manufacturers.    As a result, smaller wholesalers may not have
   received any orders for generic Zetia or may have chosen not to
   carry it.   Additionally, smaller wholesalers may receive orders
   for generic Zetia but may not be able to purchase it at a
   competitive price in order to make a sufficient profit on the
   product."     Id. H 36.
                                              23
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    H 9 (''Logically, the failure by a market participant to exercise

    an option it didn't have provides no information about its likely

    behavior had that option been available.").              To the contrary, in

    addition to general generic competition research and Defendants'

    and Par's own forecasts, DPPs' evidence regarding actual Zetia

    experience shows that during Glenmark's six-month exclusivity

    period, the average generic price discoimt on WAC was 50 percent.

    Leitzinger Decl. H 36.         With six generic competitors in mid-2017,

    that discount increased to 97 percent.             Id. & Ex. 4.   By mid-2018,

    generic Zetia accounted for 99 percent of Zetia prescriptions.

   Id. H 36 & Ex. 5.

         Moreover,      of   the    thirty     class    members   that     purchased

   ezetimibe    both    before     and   after    generic    entry,      twenty-nine

   converted at least some of their brand purchases to lower-priced

   generic Zetia. DPPs' Presentation 12; Leitzinger Decl. H 43. This

   common evidence is sufficient for a reasonable juror to conclude

   that Caribe Rx, Eveready Wholesale Drug, Bellco, and Harvard Drug

   were injured by the alleged anticompetitive conduct - that is,

   that they would have substituted at least some of their brand

   purchases for lower-priced generic purchases had generic been

   available sooner.


         Dr. Strombom's speculative reasons for why these entities

   would not have purchased generic Zetia in the but-for world is

   insufficient    at    this   stage    to overcome      DPPs'   evidence.     Cf.

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    Namenda, 331 F. Supp. 3d at 209 ("Defendants are not entitled to

    the benefit of [the] doubt when the very reason we cannot know the

    answer to [whether certain entities would have purchased generic

    had it been available earlier] is because of [Defendants'] alleged

    wrongdoing.").      Nor   will   individualized     inquiries    concerning

    injury as to these four brand-only purchasers at trial predominate

    over such common evidence.         See In re Intuniv Antitrust Litig.,

    No. l:16-cv-12653, 2019 WL 4645502, at *10 (D. Mass. Sept. 24,

    2019) (finding that common issues of law and fact predominated

   even though class included a few members that stopped purchasing

   brand Intuniv before generic version became available because they

   "might well have elected to purchase generic Intuniv had it become

   available when they were in the market for Intuniv"); see also

   Loestrin 24 Fe, 2019 WL 3214257, at *15 ("The prospect that a

   handful of identifiable class members may be uninjured is not a

   barrier to class certification.").

         Unlike   the   other   four    putative    members.   Smith    Medical

   Partners continued to purchase only brand Zetia after generic entry

   until its final purchase in June 2018.          Strombom Decl. Ex. 2.    But

   that does not necessarily mean that the company suffered no injury.

   As Defendants concede, DPPs          can establish    injury if     they can

   demonstrate that the price Smith Medical Partners paid for brand

   Zetia "would have been lower if generics had entered the market

   [earlier]."    Defs.' Opp'n 12.

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         Indeed/ in American Sales Co♦/ this court declined to exclude

    from the class six entities that had made brand-only purchases

    before   and    after    generic    entry        not   because      they    would    have

    substituted      brand    purchases        with      generic,    but       because    the

    plaintiffs' evidence showed that they would have paid less for the

    brand drug due to generic competition;

         Defendants next contend that purchasers who only bought
         brand-name Celebrex and did not buy generic substitutes
         after they entered the market should be excluded because
         there is no evidence they would have purchased generic
         celecoxib in the but-for world where generic entry was
         not delayed.    In other words, because the evidence
         suggests these buyers only bought brand-name Celebrex,
         they were not overcharged because they would not have
         purchased the generics at lower prices no matter when
         they entered the market.   But Plaintiffs have alleged,
         and     their    evidence     tends        to   show,   that    brand-name
         Celebrex decreased in price significantly following
         generic entry.  As a result, brand-only purchasers who
         bought Celebrex during the delay period . . . would have
         suffered overcharges as a result of delayed generic
         entry.  If generics entered the market in May 2014, the
         purchases made in the six months after this date would
         have been at a lower price due to larger discounts
         offered on brand-name Celebrex after generic entry.

    2017 WL 3669604, at *9       (emphasis added)           (citations omitted) .

         Here,     Dr.   Leitzinger's summary of Zetia sales in the actual

   world found that         "the average discount given by Merck on brand

    Zetia purchases after generic entry increased to 19 percent" from

    9 percent    (or 10 percent)          Leitzinger Decl.           H 36 & Ex. 6; see




      See Leitzinger Trial Report H 40 & Ex


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    also Leitzinger Rebuttal Decl. H 13 ("[G]eneric competition led to

    increased discounts in the average prices paid by the majority of

    Class members on their remaining Zetia purchases.").         In the but-

    for world, therefore, Dr. Leitzinger concludes that "the Zetia

    purchases that would have continued with generics available to

    buyers would have occurred at more favorable prices."            Leitzinger

   Decl. 1 37.

           Defendants seek to distinguish American Sales Co., arguing

    that   "brand-only   Zetia    purchasers   did   not   receive   increased

   discounts."^®    Defs.' Opp'n 13.    Dr. Strombom takes issue with Dr.

   Leitzinger's use of "Class-wide average prices for brand Zetia

   before and after generic entry to infer that all, or almost all,

   putative Class members pay lower brand prices (relative to WAC)

   after generic entry."         Strombom Decl. H 40.       According to Dr.

   Strombom, using an average price can be misleading where, as here,

   a small percentage of the class is responsible for the majority of

   the brand purchases.        Id.    In this case, three      wholesalers -

   AmerisourceBergen, Cardinal Health, and McKesson (the "Big Three")

   - made over 95 percent of the brand purchases during the class

   period.     Id. & n.55.       Moreover, Dr. Strombom points out that,

   according to Dr. Leitzinger's own analysis, only 56 percent of




      This argument is aimed generally at Caribe Rx and Eveready
   Wholesale Drug, not Smith Medical Partners. See Defs.' Opp'n Il
   ls.

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   brand    purchasers,    before    and    after   generic     entry,   obtained

   increased discounts, meaning that 44 percent did not.             Id. H 41.

         While Dr. Leitzinger's damages model does rely on averages,

   he expressly states that, based on Merck's transaction data. Smith

   Medical    Partners   did   in   fact   obtain   increased   discounts   after

   generic entry.        Leitzinger Rebuttal Decl. H 13 n.l3.            Although

   there is a dispute as to whether Smith Medical Partners or its

   parent, H. D. Smith, actually received these increased discounts,

   see Strombom Decl. H 59, such dispute should not preclude Smith

   Medical Partners' membership in the class at this stage.                   Cf.

   Niaspan, 397 F. Supp. 3d at 686 (finding that potential need for

   limited ''additional individualized evidence" to determine whether

   two purported brand-only purchaser class members suffered injury

   did not defeat class certification).             Because DPPs' evidence is

   sufficient for reasonable jurors to conclude that all five brand-

   only purchasers were injured, those members should be included in

   the class and any analysis of practicability of joinder.

                     iv.   Idiosyncratic Purchasers

           Finally, Defendants seek to exclude four members - A.F. Hauser

   Inc., Cesar Castillo, Henry Schein, and Paragon Enterprises Inc.

   - with "idiosyncratic purchase patterns."             Strombom Decl. ^ 47;

   Defs.' Opp'n 13-14.         In other words, each member's purchasing

   behavior was too sporadic to support any reasonable assumption

   regarding injury using classwide proof.             See Defs.' Opp'n 13-14

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    {"It   is   impossible    to   guess   the   basis   for   these   individual

    entities'    purchasing    behavior,    much less     to presume,     as Dr.

    Leitzinger does, that they would have made generic purchases if

    generic ezetimibe had been available earlier."); see also Strombom

    Decl. nil 52-53 (noting that Paragon and A.F. Hauser made so few

    brand purchases that "it cannot be assumed" that they would have

    purchased generic had it been available earlier, and suggesting

    that brand Zetia may have been preferred in any event).

           If anything. Defendants claim, the limited evidence suggests

   that these members suffered no injury.            For example. Defendants

   note that A.F. Hauser, Cesar Castillo, and Henry Schein did not

   purchase generic Zetia until "long after generic entry.                Defs.'

   Mot. Certify Hr'g Presentation ("Defs.' Presentation") 16-17 (ECF

   Nos. 927-2 (sealed), 940-2 (public)); see Strombom Decl. Hfl 49-51

   (noting that Cesar Castillo did not purchase generic Zetia until

   January 2019, Henry Schein did not purchase generic until more

   than a year after generic entry, and A.F. Hauser did not purchase

   until    October   2017).       This,   Defendants    claim,   suggests   that

   "earlier generic entry would not have led to earlier generic




     Dr. Strombom initially claimed the same about Paragon, stating
   in his report that Paragon did not purchase generic until February
   2018. Strombom Decl. t 51. However, the parties agree this was
   error and acknowledge that Paragon first purchased generic in
   February 2017.     See DPPs' Reply 5; Leitzinger Rebuttal Decl. ^ 18;
   Hr'g Tr. 50:9-51:1.


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    purchases."1®      Defs.' Opp'n 14; Strombom Decl.             HH   49-51, 55.

    Moreover,    Dr.   Strombom   concludes       that   because    none     of   the

    idiosyncratic purchasers received increased discounts on brand

    purchases after generic entry, they would not have received such

    discounts in the but-for world.            Strombom Decl. H 55; see Defs.'

   Presentation 16.


         DPPs respond that "the Quantity of purchases is irrelevant to

   the fact of [antitrust] impact" and that the jury is entitled to

   determine whether these entities would have substituted at least


   some of their brand Zetia purchases with generic Zetia had the

   generic version been available earlier.            DPPs' Reply 5.

         Although DPPs are correct that antitrust impact, or injury,

   imposes      no   minimum   purchase        requirement   beyond      a   single

   overcharge,^® I do not understand Defendants' argument to be that




   18 Defendants have gone as far as suggesting that Cesar Castillo's
   purchase of generic Zetia in January 2019 - two years after generic
   entry - was due to the ongoing litigation as opposed to a
   legitimate business purpose. Defs.' Opp'n 14; Strombom Decl. t 49;
   Defs.' Presentation 17; Hr'g Tr. 52:1-17.      But apart from the
   timing. Defendants have provided no evidence in support of that
   assertion.  By contrast, Cesar Castillo's Rule 30(b)(6) witness,
   Luis Vazquez, testified that the purchase coincided with favorable
   pricing for generics.    Sobol Decl. Ex. 47, at 31:3-11, 55:9-13
   (ECF Nos. 872-15 (public), 875-5 (sealed)).

   1® See In re Nexium Antitrust Litig., 777 F.3d 9, 27 (1st Cir.
   2015) ("Paying an overcharge caused by the alleged anticompetitive
   conduct on a single purchase suffices to show—as a legal and
   factual matter—impact or fact of damage." (citation omitted)); see
   also In re Rail Freight Fuel Surcharge Antitrust Litig., 292 F.
   Supp. 3d 14, 136 (D.D.C. 2017) ("[E]ven if many class members were
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    these putative members suffered no injury simply because they made

    only a few purchases.         Rather, Defendants' argument is aimed at

    predominance.       That is, due to the small amount of purchases, it

    is difficult to guess these entities' behavior in the but-for world

   - and thus whether they would have sustained any injury - without

    conducting    individualized        assessments.        See   Defs.' Opp'n   14

   ( [T]he necessity of individual inquiry into the facts surrounding

    the   miniscule     number of      purchases of      these prospective class

   members would be necessary to even speculate as to whether they

   paid overcharges."); Hr'g Tr. 51:10-14 (The simple point here,

   Your Honor . . . is that when somebody makes a small purchase like

   that, you cannot infer, without individualized inquiry, that they

   would have substituted generic for it.").

          Nonetheless, Defendants do not persuade me to exclude these

   four putative members from the                  class largely for the reasons

   discussed     with    regard   to    the    brand-only    purchasers.   It    is

   undisputed that each idiosyncratic member purchased brand Zetia

   during the delay period and that each member purchased generic

   Zetia after generic entry.           See Strombom Decl. H 48 & Ex. 2.         In




   able to avoid an overcharge on some, or even many, transactions
   through negotiations or because of other factors, they are still
   victims of the alleged price-fixing conspiracy and proper class
   members if they paid a supra-competitive price on a single
   transaction." (quoting In re Air Cargo Shipping Servs. Antitrust
   Litig., No. 06-md-1175, 2014 WL 7882100, at *45 (E.D.N.Y. Oct. 15,
   2014))).

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    combination with DPPs' common evidence regarding the decrease in

    brand price in response to generic competition, a jury could

    reasonably find that these putative members suffered an overcharge

    because they would have substituted at least some of their brand

    purchases with lower-priced generic Zetia had the generic been

    available      sooner.      As   with      the   brand-only     purchasers,    any

    individualized inquiry with regard to these four members at trial

    would   not    predominate    over    the    evidence     common   to   all   class

    members.    See Intuniv, 2019 WL 4645502, at *10 {''Even if Defendants

   intend to argue at trial that a handful of the forty-eight class

    members did not suffer any antitrust impact because they would not

    have paid less for brand Intuniv or purchased generic Intuniv if

   it had been available, common issues of law and fact would still

   predominate.").        Thus, these members should also be included in

   the class when considering practicability of joinder,

                  b.    Practicability of Joinder

         With thirty-five members, the proposed class falls just short

   of   the     forty     generally      required       for   the   presumption     of

   impracticability       and    into    the    "gray    area"   requiring    further

   analysis.      See Am. Sales Co., 2017 WL 3669604, at *6; Ansari, 179

   F.R.D. at 114-15.         "Among other factors that courts will consider

   are judicial economy, the claimants' ability and motivation to

   litigate as joined plaintiffs, the financial resources of class

   members, and geographic dispersion of class members."                    Am. Sales

                                            32
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    Co., 2017 WL 3669604, at *9; accord Ansari, 179 F.R.D. at 114-15

    (listing factors); 5          William B.     Rubenstein,    Newberg on         Class

    Actions § 3:12 (5th ed. 2019 update) (same).                    Consideration of

    these factors in this case reveals that joinder of all thirty-five

    members is impracticable.

         First, both judicial economy and geographic dispersion favor

    the class action over joinder.              The proposed class consists of

   thirty-five members spread across multiple states and Puerto Rico,

   Leitzinger Decl. Ex. 9, and the members all claim injury from the

   same alleged anticompetitive conduct.               Ordinarily, these facts

   would weigh heavily in favor of rendering joinder impracticable,

   see Am. Sales Co., 2017 WL 3669604, at *10, but Defendants argue

   not so here because this case is proceeding as an MDL, thereby

   ''ensur[ing]     efficiency and avoid[ing]         the risk of duplicative

   actions or inconsistent liability."            Defs.' Opp'n 17; see also id.

   at 21 (asserting that the risk of individual suits across the

   country   '*is     mitigated    by   the   fact   that     the    MDL   panel    has

   centralized the cases in this Court").               However, this argument

   overlooks    the    fact   that   the   United    States    Judicial     Panel    on


   Multidistrict Litigation centralized these proceedings in this

   court for the purpose of presiding over pretrial matters only.20




   20   Pursuant    to   28   U.S.C.    § 1407(a),     the    Judicial     Panel     on
   Multidistrict Litigation may transfer civil actions pending in
   different judicial districts that ''involv[e] one or more common

                                           33
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    Transfer Order (ECF No. 1); Conditional Transfer Order (EOF No.

    2); see also Pretrial Order No. 1, at 2 (EOF No.              20)   (''This

    consolidation, however, does not constitute a deteirmination that

    the actions should be consolidated for trial.").        As a result, if

   class certification is denied, and barring settlement or any other

    disposition,   plaintiffs   that individually filed elsewhere           and

    whose cases were transferred to this court for pretrial matters

    would return to the court of filing for trial.            See 28 U.S.C.

   § 1407(a) ("Each action so transferred shall be remanded by the

   panel at or before the conclusion of such pretrial proceedings to

   the district from which it was transferred unless it shall have


   been   previously   terminated.");    see   generally   Lexecon   Inc.   v.

   Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

          Moreover, courts in similar MDL proceedings consistently find

   that judicial economy and geographic dispersion weigh in favor of

   class certification.       See Suboxone, 421 F. Supp. 3d at 46-47;

   Niaspan, 397 F. Supp. 3d at 677-79; Loestrin 24              Fe, 2019 WL

   3214257, at *8, *10; In re Lidoderm Antitrust Litig., No. 14-md-

   2521, 2017 WL 679367, at *13-14 (N.D. Cal. Feb. 21, 2017); In re

   Nexium (Esomeprazole) Antitrust Litig., 296 F.R.D. 47, 52-53 (D.




   questions of fact" to a single district "for coordinated                 or
   consolidated pretrial proceedings." 28 U.S.C. § 1407(a).
                                       34
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    Mass. 2013); In re K-Dur Antitrust Litig., No. 2:01-cv-1652, 2008

    WL 2699390, at *3-4 (D.N.J. Apr. 14, 2008).

         With that in mind, I too conclude that judicial economy and

    geographic     dispersion          of    class        members      strongly      support

    certification of the class.             Indeed, proceeding through joinder in

    this case carries the prospect of several ''individual plaintiffs

   represented by dozens of different attorneys," Niaspan, 397 F.

   Supp. 3d at 677, creating a high risk of complications resulting

   from ineffective coordination, see Wellbutrin XL, 2011 WL 3563385,

   at   *3.      See    also     Am.   Sales      Co.,     2017   WL    3669604,     at    *10

   ("[G]eographic        dispersion         regularly      weighs      in   favor    of     an

   impracticability finding."); Lidoderm, 2017 WL 679367, at *14

   ("The wide geographic dispersion of the DPPs also weighs against

   joinder."); Milbourne v. JRK Residential Am., LLC, No. 3:12-cv-

   861, 2014 WL 5529731, at *5 (E.D. Va. Oct. 31, 2014) ("[N]ationwide

   dispersion      makes        joinder      of     all     plaintiffs      an      unwieldy

   prospect.").

         Joinder       would    also   constitute         inefficient expenditure          of

   judicial resources.          As the court and the parties are well aware,

   this case is extremely complex and has produced an immense amount

   of   discovery.        The    parties'     numerous      discovery disputes            have

   required frequent court intervention.                     And though the bulk of

   discovery has concluded. Defendants would be entitled to further

   discovery if all DPPs were joined to the suit.                      See Modafinil, 837

                                               35
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    F.3d at 257 (noting that proceeding by joinder means that "each

    plaintiff would be subject to discovery, whereas the defendants

    would have to show a greater need for discovery from unnamed

    plaintiffs in a class action" (citing Clark v. Universal Builders,

    Inc., 501 F.2d 324, 340-41 (7th Cir. 1974))).             If history is any

    indication,    the   court will again be called           to wade into the

    discovery   disputes     that   are   almost    certain    to   arise.     See

    Wellbutrin XL, 2011 WL 3563385, at *3 (finding that discovery

   complications "would be greatly increased if all direct purchasers

    were joined").

         Furthermore, declining to certify the class could potentially

   result in      multiple   individual    trials   (for   those    members   that

   proceed with individual actions), which will essentially involve

   the same theories of liability and largely the same evidence.               In

   such circumstances, proceeding in a class action is preferred as

   it greatly conserves judicial resources.            Am. Sales Co., 2017 WL

   3669604, at *10; see also Solodyn, 2017 WL 4621777, at *5 (finding

   that judicial economy favors certification where "all putative

   class members seek damages stemming from the same allegedly illegal

   activity" (citing Am. Sales Co., 2017 WL 3669604, at *9-10));

   Soutter, 307 F.R.D at 218 ("[E]ven if just a fraction of the class

   members were to bring individual suits, the adjudication of the

   common issues in a single proceeding would be more efficient than

   the separate adjudication of individual claims."); Nexium, 296

                                          36
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    F.R.D.     at   53   ("[J]udicial      economy    would    best    be    served   by

    certifying the Direct Purchaser class, primarily because all

    putative    class    members    seek    damages    stemming    from      the   same,

    identical transactions."); Meijer, Inc., 246 F.R.D. at 307 ("[T]he

    interest of judicial economy is clearly served by resolving the

    complex common issues raised by the instant action in a single

    action, rather than [multiple] individual actions.").

          The       remaining     impracticability       factors        also       favor

   certification, but only slightly.             DPPs argue that, absent a class

   action, several members will be deterred from asserting their

   claims because they have "negative value claims."                   DPPs' Reply 7-

   8; Leitzinger Rebuttal Decl. UK 44-46.               That is to say that the

   cost   of    litigation      exceeds    the   expected     amount    of   recovery.

   Consequently, these members lack the financial incentive to pursue

   their claims.21


          Thomas Sobol of Hagens Berman Sobol Shapiro LLP, counsel for

   named Plaintiff FWK and interim lead counsel for the putative DPP

   class, estimates non-recoverable expert fees^s of $3 million, with




   21 Economic feasibility is frequently considered in connection with
   Rule 23(b)(3)'s superiority requirement. 6 William B. Rubenstein,
   Newberg on Class Actions § 20:36 (5th ed. Dec. 2019 update); see,
   e.g., Namenda, 331 F. Supp. 3d at 220.

   22 See W. Va. Univ. Hosps., Inc. v. Casey, 499 U.S. 83, 88-97 (1991)
   (holding that a prevailing plaintiff cannot recover expert fees
   under a fee shifting statute unless the statute expressly provides
   for the recovery of expert fees, and suggesting that the Clayton

                                            37
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    a total litigation price tag of somewhere between $3.7 and $4

    million.     Sobol Decl. H 6 (ECF No. 872); DPPs' Reply 7-8.                Sobol

    bases this conclusion ''on estimates of the anticipated expert fees

    made at the outset of this case, the nearly $1 million in expert

    expenses already incurred, and [his] experience with the cost of

    litigation and trials of similar actions."            Sobol Decl. H 6; see

    also Leitzinger Rebuttal Decl. H 41 & n.49 (noting that in a

   similar pharmaceutical antitrust class action in which Sobol's

   firm served as co-lead counsel, expert fees were approximately

   $2.97 million, with total expenses of approximately $3.7 million

   (citing In re Nexium (Esomeprazole) Antitrust Litig., l:12-md-

   02409   (D.    Mass.   2015),   ECF   Nos.   1580,   1582-1)).        With   that

   baseline. Dr. Leitzinger concludes that "13 of 35 Class memberst23]

   would not find it worthwhile to proceed with a 100 percent expected

   chance of success and trebling and 17 of them would not find it

   worthwhile     to   proceed   with a   50    percent   chance    of   success."

   Leitzinger Rebuttal Decl. H 44; see also id. Ex. 3 (finding that




   Act does not allow recovery of expert fees); La. Power & Light Co.
   V. Kellstrom, 50 F.3d 319, 332-33 (5th Cir. 1995) (holding, in
   light of Casey, that expert fees are not recoverable under the
   Clayton Act); see also Barber & Ross Co. v. Lifetime Doors, Inc.,
   810 F.2d 1276, 1282 (4th Cir. 1987) (noting that had Congress
   intended for expert fees to be recoverable under the Clayton Act,
   it would "have specifically authorized such recovery").

   23 This number excludes the seven retailer plaintiffs as well as
   entities that purchased only generic Zetia from Par during the
   class period.       Leitzinger Rebuttal Decl. H 44.
                                          38
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    thirteen members have estimated overcharges of less than $3 million

    after trebling).

           Defendants    note,   however,    that Dr.      Leitzinger's     analysis

    improperly assumes that, in the absence of class certification,

    each   member   would    pursue   its    claims    individually       instead   of

    jointly, where the costs of litigation would be shared.                    Defs.'

    Opp'n 19; see Modafinil, 837 F.3d at 258-59 ("While it may be

    uneconomical      for   [small]   claims     to   be   pursued   in   individual

   litigation, there has been no showing that it would be uneconomical

   for [members with small claims] to be individually joined as

   parties in a traditional lawsuit."); In re AndroGel Antitrust

   Litig., No. 1:09-md-2084, 2018 WL 3424612, at *3 (N.D. Ga. July

   16, 2018) ("As joined parties, no individual plaintiff will bear

   the costs of those experts completely on their own.").

           Defendants also state that several putative members are large

   companies with substantial claims and adequate resources to pursue

   such     claims,     either    individually        or    jointly,      if   class

   certification is denied - especially the Big Three, who account

   for 97 percent of all class purchases and each have claims of more

   than $1 billion before trebling.              Defs.' Opp'n 18-19; Strombom

   Decl. flU 72-74 & Ex. 4; see also Defs.' Presentation 20 (asserting

   that fourteen class members "claim supposed treble damages over

   $10 million").       And to the extent "a small portion of the putative

   class" finds it uneconomical to litigate, that should not preclude

                                            39
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    the court from finding joinder practicable ''because the potential

    benefit to the small claimants is small."                         Id. at 20 (citing

    Modafinil, 837 F.3d at 259; AndroGel, 2018 WL 3424612, at *3).

         These arguments ignore not only the text of Rule 23(a)(1),

    which    requires    a    finding      that       "joinder       of    all     members   is

    impracticable,"      not "some" or "nearly all,"                      Fed.     R. Civ. P.

    23(a)(1) (emphasis added), but also the aim of Rule 23 itself,

    namely "to overcome           the    problem      that small recoveries do               not

    provide the incentive for any individual to bring a solo action

    prosecuting his or her rights," Amchem Prods., Inc., v. Windsor,

   521 U.S. 591, 617 (1997) (quoting Mace v. Van Ru Credit Corp., 109

    F.3d 338, 344 (7th Cir. 1997)); see also Gunnells v. Healthplan

   Servs., Inc., 348 F.3d 417, 426 (4th Cir. 2003) (noting that class

   actions "provide access to the courts for those with claims that

    would be uneconomical if brought in an individual action").

         That being said, DPPs' negative value claim evaluation is

   only modestly persuasive.               To be sure, DPPs' estimated expert

   witness    costs   of     $3    million   and      their   assertion          that   several

   members     have     trebled         claims     below      that        amount    are   fair


   approximations.       But as Defendants point out, DPPs assume, without

   any evidence, that absent a class action, these smaller claimants

   would sue individually and thus bear the entire cost of litigation.

   Cf.   Solodyn,     2017    WL    4621777,      at *6    (finding         that    DPP   class

   provided persuasive evidence that "[t]he competitive relationship

                                                 40
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    among   some   class   members    serve[d]   as   a   significant   business

    obstacle to joinder" (internal quotation marks omitted)).             It is

    true that, for some members, even proceeding through joinder can

    entail substantial costs.        See Modafinil, 837 F.3d at 257 ("Though

    joinder is certainly more economical for most plaintiffs than

    pursuing the case alone, it is often still uneconomical for an

    individual with a negative value claim to join a lawsuit.").

    Nonetheless, "DPPs offer no assessment as to [whether] expert costs

   could be economically shared through joinder."^4            Niaspan, 397 F.

   Supp. 3d at 678.        Accordingly, this financial factor does not

   significantly inform the practicability assessment here.

         Aside from members' financial ability and incentive, DPPs

   have offered other evidence that smaller members might not pursue

   their claims, either individually or jointly, due to a fear of

   retaliation.     Courts have recognized the hazard that some direct




   24 It is not uncommon for courts to consider only the costs of
   proceeding individually rather than considering possible cost-
   sharing.  See, e.g., Applegate v. Formed Fiber Techs., LLC, No.
   2:10-cv-473, 2012 WL 3065542, at *5 n.6 (D. Me. July 27, 2012)
   (explaining that the "relatively small size of each plaintiff's
   claim   would    discourage   many . . . from    pursuing   claims
   individually" (emphasis added)); see also 6 William B. Rubenstein,
   Newberg on Class Actions § 20:36 (5th ed. Dec. 2019 update)
   ("Courts sometimes consider whether it would be economically
   feasible for each member to individually pursue her own claim."
   (emphasis added)); cf. Ballard v. Blue Shield of S. W. Va., Inc.,
   543 F.2d i075, 1080 (4th Cir. 1976) (analyzing numerosity in
   antitrust class action and noting that "discovery would be
   repetitive and unduly expensive if the parties engage in individual
   suits" (emphasis added)).

                                         41
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    purchasers face in the absence of class certification - they can

    sue directly and risk endangering ongoing business relationships

    with their suppliers; or they can forego legal action and recover

    nothing.      See 111. Brick Co., 431 U.S. at 746 (''We recognize that

    direct purchasers sometimes may refrain from bringing a treble-

    damages      suit    for     fear    of    disrupting      relations    with      their

    suppliers            Natchitoches         Parish   Hosp.   Serv.    Dist.    v.    Tyco

    Int^l., Ltd., 247 F.R.D. 253, 273 n.6 (D. Mass. 2008) ("Distributor

    class      members     may    be    reluctant       to   bring     actions     against

    manufacturers, and thus 'a class action may be the only practical

    method for resolving their claims.'" (quoting In re Indus. Diamonds

   Antitrust Litig., 167 F.R.D. 374, 386 (S.D.N.Y. 1996))); see also

   6 Herbert B. Newberg & Alba Conte, Newberg on Class Actions § 18.41

   (4th ed. 2002) ("Class actions perform an important function in

   cases where individual franchisees or purchasers are reluctant to

   sue because they fear economic reprisal." (citing cases)).                          But

   see Niaspan, 397 F. Supp. 3d at 678 ("DPPs do not provide any

   evidence . . . that participation through joinder sparks greater

   fear     of   retaliation      than    does       participation   through     a    class

   action.").

          In     support    of   their    fear-of-retaliation          assertion,     DPPs

   provide       evidence   as    to    what    happened     after   the   decisions    of

   Modafinil, where the Third Circuit decertified a class of twenty-

   two members because the district court had not properly explained

                                                42
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    why joinder was impracticable, 837 F.3d at 252-60, and AndroGel,

    where a Georgia district court denied certification of a class of

    thirty-three members on the ground that joinder was practicable,

    2018 WL 3424612, at *2-4.     With regard to the former, "nearly one

    third of the former class members did not proceed, including three

    former class members who submitted declarations explaining they

    would not proceed because they could not jeopardize their business

    relationship with suppliers,            This occurred despite a prior

    class settlement with three of five defendants for $512 million."

   DPPs' Reply 10 (footnotes omitted) (citing Sobol Decl. Exs. 37-39

   (ECF Nos. 872-5, -6, -7)).

         Since the AndroGel decision, "[o]ver half of the former absent

   class members have not filed individual cases, even though [the]

   plaintiffs' claims survived summary judgment."         DPPs' Reply 10-11

   (footnotes omitted) (citing Sobol Decl. Exs. 40-41 (ECF Nos. 872-

   8, -9); In re AndroGel Antitrust Litig. (No. II), No. l:09-md-

   2084, 2018 WL 2984873 (N.D. Ga. June 14, 2018) (summary judgment

   opinion)).     DPPs say the likely reason for this is that "small

   wholesalers fear retaliation from suppliers."         Id. at 11.




   25 Those three members appear also to be putative members in this
   case. See Leitzinger Rebuttal Decl. Ex. 3 (listing class members).
   Compare Sobol Decl. Ex. 38 (ECF No. 872-6) (listing Capital
   Wholesale Drug, Prescription Supply Inc., and Dakota Drug
   Company), with id. Ex. 37 (ECF No. 872-5) (listing members that
   intended to proceed to trial, which did not include Capital
   Wholesale Drug, Prescription Supply Inc., or Dakota Drug Company).

                                       43
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         DPPs also point to a similar pharmaceutical antitrust action,

    Rochester Drug Co-Operative, Inc. v. Braintree Laboratories, 796

    F. Supp. 2d 560, 563-64 (D. Del. 2011), in which RDC, a named

    plaintiff in this case, and Louisiana Wholesale Drug Company, Inc.

    ("LWD")/ a putative class member in this case, actually suffered

    retaliation from a brand drug manufacturer due to their bringing

    antitrust claims against it.             DPPs' Mem. 13 & n.56; DPPs' Reply 11

    & nn.57-58.        Indeed, the district court in that case observed,

     [T]here      is   no    dispute    that   defendant    at   bar    terminated       its

    business relationship with plaintiffs specifically as a result of

    plaintiffs' pursuit of litigation.                     Braintree Labs., 796 F.

    Supp. 2d at 567 (footnote omitted).

         Although DPPs' evidence of possible retaliation is somewhat

    persuasive, its effect is limited because there has been no showing

    that any member in this case would refrain from prosecuting its

    claims   in    the      absence    of   class   certification      out   of   fear   of


    retaliation or would in fact suffer retaliation if it persisted in

    the litigation.         See Niaspan, 397 F. Supp. 3d at 678 ("DPPs do not

    provide any evidence that the putative class members in this case

    fear retaliation." (citing Cephalon, Inc., 2017 WL 3705715, at

    *10)).




   26 DPPs also note that the plaintiffs obtained "a preliminary
   injunction on the condition that plaintiffs post a $750,000 bond."
   DPPs' Reply 11 (citing Sobol Decl. Ex. 42 (ECF No. 872-10)).

                                               44
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         After careful examination of all the relevant factors, I

    conclude that considerations of judicial economy and geographic

    dispersion dictate a finding that joinder of all thirty-five class

    members in the DPPs' proposed class would be impracticable.               See

    Niaspan, 397 F. Supp. 3d at 677-79; Loestrin 24 Fe, 2019 WL

    3214257, at *8, *10; Am. Sales Co., 2017 WL 3669604, at *9-10;

    Nexium, 296 F.R.D. at 52-53; Wellbutrin XL, 2011 WL 3563385, at

   *3-4; Meijer, Inc., 246 F.R.D. at 305-07.

         2.    Commonality

         Rule 23(a)(2) requires that questions of law or fact be common

   to the class.    "A common question is one that can be resolved for

   each class member in a single hearing" and does not "turn[] on a

   consideration    of    the   individual    circumstances   of   each     class


   member."    Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311,

   319 (4th Cir. 2006).         In other words, the named plaintiffs must

   ''demonstrate   that   the    class   members   'have   suffered   the   same


   injury'" and that their claims "depend upon a common contention."

   Wal-Mart Stores, Inc., 564 U.S. at 349-50 (quoting Falcon, 457

   U.S. at 157).    "That common contention, moreover, must be of such

   a nature that it is capable of classwide resolution—which means

   that determination of its truth or falsity will resolve an issue

   that is central to the validity of each one of the claims in one

   stroke."    Id. at 350.      So long as DPPs make this showing, factual

   differences among the class members' claims are generally of no

                                         45
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    concern.    Stanley v. Cent. Garden & Pet. Corp., 891 F. Supp. 2d

    757, 770 (D. Md. 2012) {"Factual differences among class members

    will not necessarily preclude certification 'if the class members

    share the same legal theory.'" (citing Mitchell-Tracey v. United

    Gen. Title Ins. Co., 237 F.R.D. 551, 557 (D. Md. 2006))); see also

    Milonas v. Williams, 691 F.2d 931, 938 (10th Cir. 1982) ("[Ejvery

    member of the class need not be in a situation identical to that


   of the named plaintiff [to establish commonality].").

         In    the   antitrust     context,         commonality    is    often     readily

   satisfied     because     allegations of          conspiracy or       monopolization

    normally     constitute        a        "central       or     single        overriding

   issue . . . sufficient to establish a common question."                        Brown v.

    Cameron-Brown     Co.,   92   F.R.D.     32,    38   (E.D.   Va.    1981)    (internal

   quotation marks omitted) (citing 4 Herbert B. Newberg, Newberg on

   Class Actions § 7514 (1977)); see also Meijer, Inc., 246 F.R.D. at

   300 ("[Nlumerous courts have held that allegations concerning the

   existence, scope, and efficacy of an alleged antitrust conspiracy

   present     important     common    questions         sufficient     to   satisfy    the

   commonality       requirement       of    Rule     23(a)(2)."       (quoting    In   re

   Lorazepam & Clorazepate Antitrust Litig., 202 F.R.D. 12, 27 (D.D.C.

   2001))).

         Defendants     do   not   contest         commonality,    which     is   plainly

   satisfied in this case.         Here, DPPs allege that they were injured

   as a result of Defendants' unlawful conspiracy to delay the entry

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    of generic Zetia.       DPPs' Am. Compl. HI 1-1, 184-214.             Defendants

    sharply dispute those claims.          The trial to resolve these disputes

    will involve complex evidence involving the patents underlying the

   original       litigation,     the   other   economic       factors    bearing    on

   Defendants' settlement, and the impact of that settlement on the

    market prices for brand and generic Zetia.                  As this court and

   others have held, such issues easily qualify as common questions

   of law and fact under Rule 23(a)(2) in direct purchaser class

   actions.       See Niaspan, 397 F. Supp. 3d at 679; Loestrin 24 Fe,

   2019    WL    3214257,   at   *11; In   re   Lamictal Indirect Purchaser           &

   Antitrust Consumer Litig., No. 12-cv-995, 2018 WL 6567709, at *4

   (D.N.J. Dec. 12, 2018); Solodyn, 2017 WL 4621777, at *3 n.4; Am.

   Sales Co., 2017 WL 3669604, at *10; Wellbutrin XL, 2011 WL 3563385,

   at *4.       Accordingly, DPPs satisfy the commonality requirement.

          3.      Typicality

          The typicality prong requires a showing that ''the claims or

   defenses of the representative parties are typical of the claims

   or   defenses     of   the    class."    Fed.   R.   Civ.    P.   23(a)(3).      The

   typicality and commonality requirements are similar, as "[b]oth

   serve    as    guideposts      for   determining     whether      . . . the   named

   plaintiff's claim and the class claims are so interrelated that

   the interests of the class members will be fairly and adequately

   protected."       Falcon, 457 U.S. at 157 n.l3.              But the typicality

   requirement specifically ensures that named class representatives

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    are appropriately part of the class and ''possess the same interest

    and suffer the same injury as the class members."            Broussard v.

    Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 338 (4th Cir.

    1998); see also Deiter v. Microsoft Corp., 436 F.3d 461, 466 (4th

    Cir. 2006) ("The essence of the typicality requirement is captured

    by the notion that 'as goes the claim of the named plaintiff, so

   goes the claims of the class.'" (quoting Broussard, 155 F.3d at

   340)).     Typicality therefore requires the named plaintiffs to

   demonstrate "(1) that their interests are squarely aligned with

   the interests of the class members and (2) that their claims arise

   from the same events and are premised on the same legal theories

   as the claims of the class members."       Jeffreys v. Commc'ns Workers

   of Am., 212 F.R.D. 320, 322 (E.D. Va. 2003).

         In    antitrust     cases,   the    typicality     requirement    is

   "particularly likely" to be satisfied.         6 William B. Rubenstein,

   Newberq    on   Class   Actions § 20:40 (5th   ed.    Dec.   2019 update).

   Indeed, in such cases, "all of the plaintiffs' claims will arise

   out of the same course of conduct (the alleged conspiracy) and be

   based on the same legal theory (an unlawful restraint of trade

   resulting in supracompetitive prices)."         Id.    Consequently, "the

   proposed class representative's claims will be typical of those of

   the rest of the class."       Id.; see also In re Playmobil Antitrust

   Litiq., 35 F. Supp. 2d 231, 241 (E.D.N.Y. 1998) ("[T]ypicality in

   the antitrust context will be established by plaintiffs and all

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    class    members   alleging       the    same    antitrust    violations    by the

    defendants.").

           In this case, DPPs allege that they and the putative class

    members suffered injury due to Defendants' alleged agreement to

    delay the entry of generic Zetia.                DPPs' Am. Compl. tH 1-7, 184-

    214.    Their claims are based on the same course of events and legal

    theories    and    thus    rise    and    fall    together.      This     satisfies

    typicality.        See    Intuniv,      2019    WL   4645502,   at   *6    (finding

    typicality requirement satisfied in pay-for-delay case because

   "the DPPs bring antitrust claims that arise from the same allegedly

   anticompetitive conduct that vests the absent class members with

   like claims"); Am. Sales Co., 2017 WL 3669604, at *11 (typicality

   satisfied     where   "both    the       representative       Plaintiffs    and   the

   proposed class members all claim that they suffered overcharges as

   a result of [the defendants'] conduct which delayed generic entry

   into the market"); In re Cardizem CD Antitrust Litig., 200 F.R.D.

   297, 304 (E.D. Mich. 2001) (finding representative plaintiffs'

   claims typical of the class "because each is a direct purchaser,

   or assignee of a direct purchaser, of Cardizem CD, and each claims

   that they were forced to pay an artificially inflated price for

   their purchases as a result of Defendants' illegal conduct").

           Of the three named plaintiffs. Defendants argue that Cesar

   Castillo's claims are atypical of the class because "it is subject

   to a unique defense."         Defs.' Opp'n 28 (citing In re LIBOR-Based

                                              49
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    Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 550

    (S.D.N.Y. 2018) {finding typicality requirement unsatisfied where

    named plaintiff "remain[ed] subject to the unique defense that its

    claims where not validly assigned to it")); see also Ostrof v.

    State Farm Mut. Auto. Ins. Co., 200 F.R.D. 521, 529 (D. Md. 2001)

    ("[Wjhere a purported class representative is siibject to a unique

    defense that cannot be asserted against other members of the class

   (other than minor discrepancies), typicality may be lacking.").

   According to Defendants, Cesar Castillo "is effectively a brand-

   only purchaser; it purchased generic ezetimibe on a single occasion

    [from a wholesaler], well after filing this litigation and more

   than   two   years   after   generic   entry."    Defs.'   Opp'n    28.   In

   addition, Cesar Castillo "received higher discounts on its brand

   purchases before generic entry than it did after generic entry,"

   suggesting that it would not have paid less if generic entry had

   occurred sooner.       Id.    Consequently, Cesar Castillo is likely

   uninjured and thus fails the typicality requirement.               id.

          I disagree with Defendants.          The quantity of purchases is

   irrelevant to typicality.      See Meijer, Inc., 246 F.R.D. at 301; In

   re Potash Antitrust Litig., 159 F.R.D. 682, 691 (D. Minn. 1995)

   (stating that typicality does not hinge on "the fact that members




   27 Defendants also argue that Cesar Castillo fails the adequacy
   requirement for the same reason. Id.

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    purchase     differing   quantities            and    pay   different      prices").

    "Typicality    refers    to       the     nature      of    the   claims    of   the

    representative,    not      the     individual        characteristics       of   the

    plaintiff."    Playmobil, 35 F. Supp. 2d at 242.                  Accordingly, the

    circumstances surrounding the claims of the named plaintiffs and

    the claims of class members need not be indistinguishable in every

    respect.     Deiter, 436 F.3d at 467; see also In re Mercedes-Benz

   Antitrust Litig., 213          F.R.D.      180, 185      (D.N.J.    2003)    (finding

    typicality     undefeated      by       "[p]otential        differences     in   the

   individual class members' transactions"); In re Catfish Antitrust

    Litig., 826 F. Supp. 1019, 1036 (N.D. Miss. 1993) ("[T]here is

    nothing in Rule 23(a)(3) which requires the named plaintiffs to be

   clones of each other or clones of the class members.").                      Rather,

   "as long as the substance of the claim is the same as it would be

   for other class members, then the claims of the named plaintiffs

   are not atypical."        In re Vitamins Antitrust Litig., 209 F.R.D.

   251, 261 (D.D.C. 2002).

         Here, Cesar Castillo alleges the same injury as the rest of

   the class - that Defendants' illegal conduct caused it to incur

   overcharges on ezetimibe purchases.               Consequently, the company and

   the class share the same "interest in producing proof in relation

   to the existence, scope, duration, and effect of [the] alleged

   conspiracy,"     which    is   sufficient         to    satisfy     Rule    23(a)(3).




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    6 William B. Rubenstein, Newberg on Class Actions § 20:40 (5th ed.

    Dec. 2019 update).

         In   any   event,   "the    presence   of   a   unique   defense    will

    not . . . destroy typicality [unless it] will skew the focus of

    the litigation and create a danger that absent class members will

   suffer if their representative is preoccupied with defenses unique

   to it."    Meijer, Inc., 246 F.R.D. at 302 (alterations in original)

   (internal    quotation    marks   omitted)   (quoting    Cardizem   CD,   200

    F.R.D. at 304-05); see also 6 William B. Rubenstein, Newberg on

    Class Actions § 20:39 (5th ed. Dec. 2019 update) (noting that a

   unique defense destroys typicality "only if that defense threatens

   to become the focus of the litigation"). And the issues Defendants

   raise here - whether, but for the alleged anticompetitive conduct,

   Cesar Castillo would have converted brand purchases to generic

   sooner or would have paid less for brand Zetia - involve factual

   issues related to proving injury that would not be so consuming as

   to skew the focus of the case.       See Sebo v. Rubenstein, 188 F.R.D.

   310, 316 (N.D. 111. 1999).        Indeed, the trial will largely focus

   on evidence related to Defendants' conduct and its effect on the


   ezetimibe market - evidence common to the class.




   28 For the same reasons. Defendants' related adequacy argument as
   to Cesar Castillo lacks merit.

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          4.     Adequacy

          Rule    23(a)       requires     that      the        parties    representing      the

    proposed class be able to ''fairly and adequately . . . protect the

    interests" of all members of the class.                      Fed. R. Civ. P. 23(a)(4).

    This inquiry "serves to uncover conflicts of interest between named

   parties and the class they seek to represent."                             Amchem Prods.,

   Inc., 521 U.S. at 625 (citing Falcon, 457 U.S. at 157 n.l3).                               In

   order for a conflict to defeat class certification, "that conflict

    must be fundamental."          GunnelIs, 348 F.3d at 430.                 That is to say

   that   the    conflict        "must    be   more       than     merely    speculative     or

   hypothetical," but rather must "go to the heart of the litigation."

   Id. at 430-31.


          Here, Defendants contest adequacy with respect to FWK and

   RDC, arguing that FWK is a shell company that lacks independence

   from   class       counsel,    and    that RDC has             a history of        dishonest

   criminal conduct and, due to its recent Chapter 11 bankruptcy

   filing,     has     conflicting       duties      to    the    class     members    and   its

   creditors.        I address each in turn,


                 a.     FWK


          Defendants      first     argue      that       FWK    is   an   inadequate    class

   representative because it is merely a litigation vehicle with no

   independence from DPP class counsel.                    Defs.
                                                               ' Opp'n 22-25.           FWK was

   formed in 2016 for the purpose of purchasing the antitrust claims

   of pharmaceutical wholesaler Frank W. Kerr Co., which filed for

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    bankruptcy the same year. DPPs' Mem. Supp. Mot. Certify 18; Defs.'

    Opp'n 23-24; see also Dusseault Decl. Ex. 3, at 22:7-12 (EOF Nos.

    820-3 (public), 823-3 (sealed)).              FWK's sole member is Michael

   Stahelin, a longtime friend of Joseph Vanek - one of the lawyers

   representing     FWK   in   this   case    -     and   is   managed    by    Thomas

    Kolschowsky.     DPPs' Mem. Supp. Mot. Certify 18; Defs.' Opp'n 23-

   24; see also Dusseault Decl. Ex. 4, at 10:1-8, 45:15-46:17 (ECF

   Nos. 820-4 (public), 823-4 (sealed)).             Kolschowsky testified that

   FWK has no employees or office space (other than record storage in

   a building owned by Stahelin Enterprises LP, an entity also owned

   by Stahelin) and       engages in    no    business other       than ''pursuing

   antitrust claims pursuant to the assignment that [it] obtained

   from Frank Kerr in bankruptcy."           Dusseault Decl. Ex. 3, at 20:13-

   22:24.


         Apparently, Vanek is largely responsible for FWK's formation,

   having devised the idea himself and approached Stahelin to serve

   as its owner.     DPPs' Mem. Supp. Mot. Certify 18; Defs.' Opp'n 23-

   24.    Vanek even helped finance FWK's purchase of Frank W. Kerr

   Co.'s antitrust claims, DPPs' Mem. Supp. Mot. Certify 18; Defs.'

   Opp'n 23-24; Dusseault Decl. Ex. 6 (ECF Nos. 820-6 (public), 823-

   6 (sealed)), though DPPs state that he has since been repaid, DPPs'

   Mem. Supp. Mot. Certify 19.        According to Defendants, even though

   a   third-party    individual,     Kolschowsky,        "manages"      FWK,   "this

   manager   is    simply   an   employee      of    Stahelin    Properties,      Mr.

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    Stahelin's real estate business."            Defs.' Opp'n 24.         Thus, the

    argument goes,     FWK enjoys    no independence from             Stahelin and,

    consequently,    Vanek,   thus   preventing       FWK    from   serving     as   an

    adequate class representative in this class action.                Id.

         For support. Defendants point to Intuniv, 2019 WL 4645502, a

   recent pay-for-delay case in which a Massachusetts district court

   found that FWK was not an adequate class representative essentially

   for the same reason.          See id. at *7-8 ("Considering the close

   relationship     between   FWK    and    class     counsel   and    the    Court's

   assessment that FWK is not engaged in meaningful supervision of

   this case, the Court is unable to conclude the FWK has shown that

   it is an adequate representative plaintiff.").               Specifically, the

   court noted that Kolschowsky spent "approximately one hour a week

   on work connected with FWK"; had never "reviewed a budget for the

   litigation or responded to a discovery request"; and provided

   deposition    testimony    that   illuminated       his    unfamiliarity      with

   important issues related to the litigation.               Id. at *7.

         The Intuniv court also took issue with Vanek and Stahelin's


   "close   business    and   personal     relationship,"       finding      that    it

   "create[d] significant doubts about whether FWK could or would

   engage in an arm's length discussion about attorney fees with class

   counsel."    Id. at *8.    More specifically, FWK's asserted share of

   aggregate    damages   only    amounted      to   0.3   percent of     the   total

   aggregate damages, yet Vanek's law firms - Vanek, Vickers & Masini,

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    P.C. and Sperling & Slater, P.C. - had entered into a "referral

    agreement with Hagens BerTnan Sobol Shapiro LLP [lead class counsel]

    that guaranteed Mr. Vanek's firms 10% of Hagens Herman's total

   fees   in    this   matter."       Id.    at    *7-8.     The    court,       therefore,

   dismissed     FWK    as    a   class     representative,        finding       that    "the

   personal, financial, and business relationship between FWK, FWK-

   associated     individuals,       and     class    counsel       [was]    simply       too

   entangled . . . particularly             considering      that     [FWK       was]     not

   engaged in meaningful supervision of the litigation."                      Id. at *8.

          Defendants assert that the present case is no different.

   Defs.'      Opp'n   23.        Vanek   and     Stahelin    still       have    a     close

   relationship, and it even appears that Vanek's firms entered into

   a similar 10 percent referral agreement with Hagens Herman Sobol

   Shapiro     LLP,    lead   counsel     and     interim   class    counsel       for    the

   proposed DPP class in this case.                 See Dusseault Decl. Exs. 7-8

   (ECF Nos. 820-7, -8 (public), 823-7, -8 (sealed)).

          Although DPPs disagree with Intuniv's holding on this point,

   DPPs    nonetheless        contend      that     this    case     is     sufficiently

   distinguishable as to render FWK an adequate class member.                           DPPs'

   Mem. Supp. Mot. Certify 18-20; DPPs' Reply 15-19.                        I agree that

   the record in this case satisfactorily demonstrates FWK's adequacy

   to serve as class representative.                 First, that FWK is a shell

   company or "litigation vehicle" with assigned claims does not alone

   render it inadequate as a class representative.                    Cf. Nexium, 296

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    F.R.D. at 53 ("Ample precedent exists for the proposition that

    assignees can be adequate class representatives."); In re Vitamin

    C Antitrust Litig., 279 F.R.D. 90, 102 (E.D.N.Y. 2012) (finding

    that entity's "status as an assignee" did not prevent it from

    "joining or representing the class" (citing Cordes & Co. Fin.

    Servs., Inc. v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 103 (2d

    Cir. 2007))).    Indeed, even the court in Intuniv did not rest its

   adequacy decision on that basis.          See 2019 WL 4645502, at *7-8.

   Rather, the test is whether the proposed representative is able to

   "fairly and adequately . . . protect the interests" of all members

   of the class.     Fed. R. Civ. P. 23(a)(4).        And with respect to FWK

   in this case, that test is satisfied.

           Unlike Intuniv, there is no evidence in this case that either

   FWK or Stahelin have any current or prospective financial dealings

   with any of class counsel, including Vanek.           Indeed, DPPs assert

   that Vanek has been repaid in full for financing FWK's antitrust

   claims     assignment.     Cf.     Intuniv,   2019   WL   4645502,     at    *7

   ("Although . . . a        close     relationship      between      a    class

   representative and class counsel is not necessarily problematic,

   a conflict arises where the class representative and class counsel

   have become so financially entangled that the interests of the

   class    representative    could    be   perceived   to   differ   from     the

   interests of the class.").




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         In     addition,     DPPs   have    provided     sufficient   evidence

    demonstrating FWK's independence from Stahelin and class counsel.

    Kolschowsky testified that as manager of FWK, he has "complete

    autonomy"    with    respect to its operations,        which includes the

    ability to overrule Stahelin.      Sobol Decl. Ex. 22, at 17:3-22 (ECF

    Nos. 737-22 (public), 741-21 (sealed)).             He also testified that

    although he had spoken with Stahelin a few times to give "[g]eneral

    update[s]" on the status of the litigation, he, Kolschowsky, was

    responsible for all litigation-related decisions - including the

    decision to serve as class representative - and had never consulted

    Stahelin regarding such decisions.        Id. at 130:16-131:21.    He also

    recognized the duties incumbent on class representatives.^9            Id.

   at 142:2-143:3.


         Kolschowsky's deposition testimony further illustrates FWK's

   active involvement in and familiarity with this litigation.              At

   the time of his deposition, Kolschowsky had devoted between twenty

   and thirty hours serving as named plaintiff (and an additional

   fifteen hours for the deposition). Id. at 130:2-15, 162:23-163:12.

   Not only has he endeavored to gain a thorough understanding of

   Frank W. Kerr's business dealings, id. at 161:10-162:22, but he




   29 Additionally, under Rule 23(e), the court must approve any
   potential settlement, further ensuring protection of the interests
   of the class.        See Berry v. Schulman, 807 F.3d 600, 612 (4th Cir.
   2015).

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    has also read all the pleadings in this litigation and frequently

    discusses the case with counsel, id. at 126:3-127:4.                    See Gariety

    V. Grant Thornton, LLP, 368 F.3d 356, 370 (4th Cir. 2004) (holding

    that district court did not abuse discretion in finding adequacy

   satisfied    where    the class representative            had    demonstrated        his

   involvement and understanding of the litigation).                       And despite

   deposing Kolschowsky with the clear intent of demonstrating FWK's

   inadequacy. Defendants do not rely on his testimony to establish

   any alleged detachment from the proceedings.

         I am thus satisfied that FWK would adequately represent the

   class.     Indeed,    FWK "share[s]       common objectives            and   the    same

   factual    and    legal   positions"   and     has    the      "same    interest     in

   establishing [Defendants'] liability."             GunnelIs, 348 F.3d at 431.

   Any perceived conflict stemming from Vanek's hand in forming FWK

   or his personal friendship with Stahelin does not, in my view,

   amount to a "fundamental" conflict that "go[es] to the heart of

   the litigation."       Gunnells, 348 F.3d at 430-31.             To the contrary,

   under    Kolschowsky's      independent     management,     FWK appears        to    be

   "engaged in meaningful supervision of this case," Intuniv, 2019 WL

   4645502, at *8, and poised to fairly represent the interests of

   the class.       FWK, therefore, satisfies the adequacy requirement,

               b.     RDC


         Defendants     next    argue   that    RDC     is   an    inadequate         class

   representative       considering     RDCs     recent      deferred      prosecution

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    agreement with the United States and the fact that it has just

    filed for Chapter 11 bankruptcy. Defs.' Opp'n 25-28; Defs.' Suppl.

    Br. Opp'n DPPs' Mot. Class Certification ("Defs.' Suppl. Opp'n")

    1-4 (ECF No. 904).30     As explained below, however, neither renders

    RDC inadequate to serve as a class representative in this case.

                      i.    Deferred Prosecution Agreement

         Less than two years after this court found RDC to be an

   adequate   class    representative        in   American   Sales     Co., 2017   WL

    3669604, at *12-13, the U.S. Attorney for the Southern District of

    New York and the U.S. Drug Enforcement Agency brought charges

   against    RDC   and    two   of    its   executives      related    to   unlawful

   distribution of controlled substances.            See Dusseault Decl. Ex. 11


   (ECF No. 820-11).       The charges against RDC resulted in a deferred

   prosecution agreement ("DPA") whereby RDC admitted to engaging in

   unlawful conduct for the purpose of achieving financial gain,

   agreed to pay a $20 million fine, and agreed to three years'

   independent supervision.           See id.; Dusseault Decl. Ex 12 (ECF No.

   820-12).    DPPs do not dispute these facts, but they assert that

   the DPA and related conduct "bear[] no relationship to the class




   30 On April 1, 2020, Defendants sought leave to file a supplemental
   opposition brief devoted to the issue of RDC's bankruptcy filing,
   ECF No. 901. On April 2, 2020, DPPs sought leave to respond to
   Defendants' supplemental brief, ECF No. 902.     The court granted
   both requests on April 3, 2020, ECF No. 906.


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    claims" and are thus irrelevant to the adequacy determination.

    DPPs' Reply 13-14.      They also point out that even the court in

    Intuniv found RDC an adequate class representative despite these

   events.    See 2019 WL 4645502, at *8-9 (''Given the history of RDC,

    the Court views this to be a close call.            Ultimately, however, the

    Court accepts RDC as an adequate representative.              RDC is under new

    management, its conduct in this case to date seems conscientious,

   and there is no obvious credibility issue that will impinge on its

   ability to adequately represent the class.").3i

         Although      "[t]he     honesty    and      credibility      of   a   class

   representative is a relevant consideration when performing the

   adequacy inquiry," Harris v. Vector Mktg. Corp., 753 F. Supp. 2d

   996, 1015 (N.D. Cal. 2010) (alteration in original) (citations

   omitted),    that    inquiry    focuses       on   "improper   or   questionable

   conduct arising out of or touching upon the very prosecution of

   the lawsuit," Gortat v. Capala Bros., Inc., 257 F.R.D. 353, 364

   (E.D.N.Y. 2009) (emphasis added); see also 6 William B. Rubenstein,

   Newberg on Class Actions § 20:41 (5th ed. Dec. 2019 update) (noting

   that adequacy requirement may be endangered where "there exist




      The District Court for the Southern District of New York in In
   re Namenda Antitrust Litigation, No. l:15-cv-7488 (S.D.N.Y. Aug.
   2, 2019), ECF No. 859, similarly rejected an attempt to disqualify
   RDC as a class representative, concluding that the DPA "does not
   bear on the issues that are to be tried."              See Sobol Decl. Ex. 43
   (ECF No. 872-11).

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    serious questions about the class representative's credibility and

    this    personal      characteristic         is   somehow        relevant     to     the

    litigation").       As the court in Intuniv found, the DPA and related

   conduct are not disqualifying because they do not directly bear on

    the    issue   of    whether    RDC    can    serve       as   an    adequate      class

   representative in this case.            See 2019 WL 4645502, at *9.            Rather,

   the     evidence     indicates   that    RDC,      which    has      served   as    class

   representative in recent cases other than Intuniv,                        is likewise

   suitable to serve as class representative in this litigation,

                        ii.   Chapter 11 Bankruptcy Filing

           On March 12, 2020, RDC filed for Chapter 11 bankruptcy in the

   United States Bankruptcy Court for the Western District of New

   York.     DPPs' Resp. Defs.' Suppl. Opp'n {'^DPPs' Resp.") 1 (ECF No.

   910); DPPs' Resp. Ex. A {"Kinney Decl."), H 2 (ECF No. 910-1);

   Defs.' Suppl. Opp'n 1; Defs.' Suppl. Opp'n Ex. C ("Kinney Chapter

   11 Decl."),        6 (ECF No. 904-3); In re Rochester Drug Co-Operative,

   Inc., No. 2:20-bk-20230 (Bankr. W.D.N.Y. Mar. 12, 2020), ECF No.

   1. According to John Kinney, RDC's interim Chief Executive Officer

   and Chief Financial Officer, "RDC remains in possession of its

   assets and continues to manage and operate its business as a debtor




     See, e.g., Niaspan, 397 F. Supp. 3d at 680-81; Namenda, 331 F
   Supp. 3d at 205.


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    in possession."33 Kinney Decl. H 3; accord Kinney Chapter 11 Decl.

    H 8 (''The Debtor remains in possession of its assets and continues

    to manage and operate its business as a debtor in possession

    pursuant to sections 1107 and 1108 of the Bankruptcy Code.").

         Defendants   claim   that   these   new   facts   are   fatal   to    RDC's


   capacity to serve as class representative for two primary reasons.

    First, the bankruptcy proceeding will preoccupy RDC's attention,

   preventing it from actively supervising this litigation.                   Defs.'

   Suppl. Opp'n 1.      Second, RDC's status as a debtor-in-possession

   creates a conflict of interests between the duties owed to RDC's


   creditors - which include both Merck and Glenmark - and the duties


   owed to the class.    Id. at 1-2.    DPPs refute both claims, asserting

   that the bankruptcy proceeding will not detract from RDC's ability

   to serve as an adequate class representative in this case, and

   that RDC's duties as a debtor-in-possession actually coincide,

   rather than conflict, with its duties as a class representative.

   DPPs' Resp. 4-7.

         Beginning    with    Defendants'     claim   that       the   bankruptcy

   proceeding "ensures that RDC will be 'preoccupied with its own

   legal problems,'" Defs.' Suppl. Opp'n 1 (quoting In re Network




   33 "[F]or purposes of Chapter 11 bankruptcies, a 'debtor-in-
   possession' is a debtor who remains in possession of the pre-
   petition assets and administers them for the benefit of the
   creditor body pursuant to 11 U.S.C. § 1107."  In re Se. Hotel
   Props. Ltd. P'ship, 99 F.3d 151, 152 n.l (4th Cir. 1996).

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    Assocs.; Inc. Sec. Litig., 76 F. Supp. 2d 1017, 1029 (N.D. Cal.

    1999)), DPPs have provided sufficient evidence showing just the

    opposite.     Kinney attests that RDC, having served several times as

   class     representative       in      similar     direct       purchaser       actions,

   "understands        its    fiduciary      duty   to   the    proposed     class"       and

   "recognizes the importance of cases enforcing purchasers' and

   consumers' rights to timely access to generic drugs." Kinney Decl.

    t 5.     In addition, RDC claims approximately $40.5 million in

   trebled damages in this case, which gives RDC every incentive to

   "[v]igorously prosecut[e] this suit."                  Id. H 6.         Consequently,

   despite the bankruptcy proceeding, RDC "continue[s] to monitor the

   status of this case through periodic reports from class counsel."

   Id. f 11.

           RDC   has   also    taken    several     measures       to   ensure    that    the


   bankruptcy      proceeds     in     "an    efficient      and    effective      manner,"

   including "assembl[ing] outside firms to guide [RDC] through the

   bankruptcy process," such that the proceeding will not hinder RDC's

   role as class representative but will "preserv[e] and maximiz[e]

   the value of RDC's estate."            Id. HH 7-9; see also id.               9 (stating

   that the bankruptcy actually provides RDC's management "more time,

   not less, to supervise Class counsel in this case" due to a New

   Jersey facility closure and the fact that "RDC is only shipping

   orders    to   customers,      and    is   no    longer     receiving    orders       from

   vendors").      Moreover, as DPPs note, "RDC has already performed the

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    most time-intensive aspects of this case^          including producing

   discovery and sitting for a deposition.          And it is prepared to

   attend and testify at trial."        DPPs' Resp. 5 (citing Kinney Decl.

    II 11).

         Defendants    point only to the fact of        bankruptcy for    the

   proposition that RDC "cannot plausibly perform a significant role

   in supervising class counsel in this action."        Defs.' Suppl. Opp'n

   4.   But this does not overcome DPPs' convincing proffer that RDC

   remains committed to serving as class representative and has taken

   certain steps to safeguard its role as such.        It bears mention too

   that RDC has extensive experience as a class representative in

   pharmaceutical antitrust cases, having served in several over the

   past decade.       See, e.g., Niaspan, 397 F. Supp. 3d at 680-81;

   Namenda, 331 F. Supp. 3d at 205; Am. Sales Co., 2017 WL 3669604,

   at *12-13; Lidodeirm, 2017 WL 679367, at *15; Teva Pharms. USA,

   Inc. V. Abbott Labs., 252 F.R.D. 213, 226-27 (D. Del. 2008).

         Defendants further argue that RDC's duties as a debtor-in-

   possession "present a serious risk of conflict with the duties it

   would have as a class representative to represent the interests of

   all class members."    Id. at 1-2.    A Chapter 11 debtor-in-possession

   "is a fiduciary and owes the same duties as a trustee."             In re

   J.T.R. Corp., 958 F.2d 602, 604 (4th Cir. 1992).          Among these is

   "the duty to protect and conserve the property in his possession

   for the benefit of creditors."        Ford Motor Credit Co. v. Weaver,


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   680 F.2d 451, 461 (6th Cir. 1982); see also In re IPofA W. Oaks

    Mall, LP, No. 07-33649, 2007 WL 3223295, at *3 (Bankr. E.D. Va.

   Oct. 29, 2007) (noting that debtors-in-possession owe a fiduciary-

   duty to ''maximize the Debtors' estates for the benefits of the

   Debtors' creditors").      Additionally, the debtor-in-possession has

   "an obligation to refrain from self-dealing, to avoid conflicts of

   interests and the appearance of impropriety, [and] to treat all

   parties to the case fairly."       In re Massenburg, 554 B.R. 769, 776

   (D. Md. 2016) (citation omitted); accord In re Bowman, 181 B.R.

   836, 843 (Bankr. D. Md. 1995); see also J.T.R. Corp., 958 F.2d at

   605 ("The debtor-in-possession [must] not act in his own interests,

   but rather in the interests of the creditors.").

         Defendants   claim   that   the   duties   that   RDC   now   owes   as   a


   debtor-in-possession conflict with its duties to the rest of the

   class.   For this proposition. Defendants rely on two cases, Dechert

   V. Cadle Co., 333 F.3d 801 (7th Cir. 2003), and In re Merrill Lynch

   & Co., Inc. Research Reports Securities Litigation, 375 B.R. 719

   (S.D.N.Y. 2007).     The former case involved a Fair Debt Collection

   Practices Act class action and a class representative, Oyler, that

   had declared Chapter 7 bankruptcy.           Dechert, 333 F.3d at 802.

   After the trustee of Oyler's estate substituted himself for Oyler

   as the sole class representative, the district court certified the

   class.    Id.   In an opinion written by Judge Posner, the Seventh

   Circuit vacated certification, finding that the trustee was an

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    inadequate representative due to a conflict of interest in the

    trustee's dual role as representative of the estate and the class.

    Id. at 802-04.       The court explained.

           It might seem that the conflict of interest in this case
           between the trustee in bankruptcy and the members of the
           class (other than the estate in bankruptcy) is inherent
           in class actions because a named plaintiff cannot be
           assumed to have the same interest in the litigation as
           the unnamed class members.               So what difference does it
         make whether the named plaintiff is a trustee in
         bankruptcy? The difference is that in the usual class
         action the named plaintiff is a nominal party and the
         real party is the lawyer for the class. The lawyer has
         no reason to favor the named plaintiff over the rest of
         the class members.     When the named plaintiff is a
         fiduciary, however, he cannot just "go along" with the
         class lawyer.   He has a duty to seek to maximize the
         value of his claim, and this duty may collide with his
         fiduciary duty as class representative (if he is
         permitted to be the class representative) to represent
         all members of the class equally. Such a collision is
         especially likely in a case in which the fiduciary is a
         trustee in bankruptcy, because class-action litigation
           tends to be protracted yet the Bankruptcy Code requires
           the trustee to complete his work expeditiously.

   Id.   at    803.     The    court    also   noted    an   additional    conflict   of


   interest in that the defendant was affiliated with a creditor to


   the   estate       that    the   trustee    represented,     thereby    making     the

   defendant an indirect creditor of the trustee.                  Id. at 803-04.


         However, the court expressly refused to "lay down a flat rule

   that a trustee in bankruptcy (or, what is the equivalent, a debtor

   in possession) can never be a class representative."                    Id. at 803.

   Instead, the court suggested that it may be appropriate in cases

   where      "the    expected      recovery   of     individual   class   members    is


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    substantial and only a fiduciary is available to be the class

    representative."         Id.

          In Merrill Lynch & Co., a New York district court relied on

   Dechert in ruling that a trustee of a Chapter 7 bankrupt estate

   could not serve as a class representative due to "an insuperable

   and impermissible conflict of interests" between his duties to the

   class and his duties to the estate's creditors, which included the

   defendant:


          In this case, Holbrook's duties to the creditors of the
          Estate would collide jarringly with his duties to the
          members of the class.    This is because, as Trustee of
          the Estate, Holbrook would have an obligation to
          represent the interests of Merrill Lynch, as a creditor
          of the Estate (indeed, as the creditor with the single
          largest unsecured claim against Dabit); at the same
          time, as a class representative, Holbrook would have a
          duty to the class to prosecute the instant claims against
          Merrill Lynch, as the defendant in this case.       Thus,
          were he to be substituted as named plaintiff, Holbrook
          would be called upon to work both sides of the street in
          this case.


   375    B.R.   at    727.        The    court      noted    an   additional    conflict,

   highlighted        in    Dechert,     between      the    trustee's    "obligation      to

   liquidate     the       property of        the   Estate    expeditiously"      and "the

   class's interest in continuing to prosecute what [was] already a

   protracted lawsuit."            Id.

          Noting the Seventh Circuit's refusal to establish a blanket

   rule   against      trustees        serving      as   class     representatives,       the

   plaintiff in Merrill Lynch & Co. attempted to distinguish Dechert,

   arguing,      in   part,    that      it   expected       recovery    of   "millions   of

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    dollars."        Id. at 728.     The district court, however, held that

    even if the plaintiff had a substantial claim, "there ha[d] been

    no   showing      that   the   Trustee    [was]    the    only   available       class

    representative."         Id.; see Dechert, 333 F.3d at 803 (stating that

   it    may    be     appropriate    for     a    trustee    to     serve    as     class

   representative in cases where "the expected recovery of individual

   class members is substantial and only a fiduciary is available to

   be the class representative" (emphasis added)).

          Here,      Defendants    argue   that RDC cannot serve             as a class

   representative because it has the same conflicting duties as the

   would-be class representatives in Dechert and Merrill Lynch & Co.

   Defendants further contend that this conflict is compounded given

   they are       both   creditors    of    RDC.      Merck   and    Glenmark      possess

   unsecured claims against RDC in the approximate amounts of $5

   million and $175,000, respectively.                DPPs' Resp. 6 n.30; Defs.'

   Suppl. Opp'n 1 & Ex. B.34

          DPPs respond that "RDC's status as debtor-in-possession is in

   complete harmony with its duties as a class representative: RDC

   must maximize the value of its claims, and in doing so maximize




   34 Merck has sought leave to amend its Answer to assert a setoff
   defense against RDC. See Def. Merck's Mot. Leave File Am. Answer
   (ECF No. 922); Def. Merck's Mem. Supp. Mot. Leave File Am. Answer
   (ECF Nos. 923 (public), 925 (sealed)). This motion was referred
   to me on June 1, 2020, and I address it in a separate Report and
   Recommendation also issued today.

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    the values of all direct class members' claims."                 DPPs' Resp. 1.

    They distinguish both Dechert and Merrill Lynch & Co., arguing

    neither one supports disqualification here for a number of reasons.

   Id. at 7-10.


         As an initial matter, the Chapter 11 proceeding does not

   automatically render RDC, a debtor-in-possession, an inadequate

   class representative.         See, e.g., De Stefan v. Frito-Lay, Inc.,

   No. SACV 10-0112, 2011 WL 13176229, at *5 (C.D. Cal. June 6, 2011)

   ("Courts have never held that bankruptcy filing automatically

   renders     an        otherwise      appropriate       class       representative

   inadequate."); Wanty v. Messerli & Kramer, P.A., No. 05-cv-0350,

   2006 WL 2691076, at *1 (E.D. Wis. Sept. 19, 2006) ("The fact that

   the plaintiffs filed for bankruptcy . . . does not demonstrate

   that their interests are different from those of the class or that


   their potential recovery from [the defendant] is so much less than

   other potential class members that they do not have as strong of

   an incentive to litigate this action.").               Even Dechert refused to

   "lay down a flat rule that a trustee [or debtor-in-possession] can

   never be a class representative."               333 F.3d at 803.

         Additionally, there are a few notable differences between

   this case and Dechert and Merrill Lynch & Co.                   Perhaps the most

   significant difference is that the present case involves a Chapter

   11    restructuring       plan    versus        the   Chapter    7   liquidation

   bankruptcies     in    the   other   two    cases.     Trustees in     Chapter   7

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    bankruptcies owe a duty not owed by trustees in the Chapter 11

   context: the duty to ''close [the] estate expeditiously." 11 U.S.C.

   § 704(a)(1); accord Dechert, 333 F.3d at 803; Merrill Lynch & Co.,

   375 B.R. at 727; see 11 U.S.C. § 1106                    (identifying duties of

   Chapter 11 trustees).           Though not dispositive,              this focus on

   expedience in the       Chapter 7 setting factored               into inadequacy

   findings in both cases.

          Next, important to the Dechert court's analysis was the fact

   that "[t]he named plaintiff in a class action usually has only a

   small stake in the action" such that "very few of the benefits of

   settling the class action or prosecuting it to judgment would be

   received   by   the   trustee      (which     is   to    say   the   creditors).

   Dechert, 333 F.3d at 802.       Here, however, RDC's $40.5 million claim

   - though comparatively small to the class's total alleged damages

   of   nearly   $5   billion^s   -    is   certainly       substantial.      Indeed,

   according to filings with the United States Bankruptcy Court for

   the Western District of New York, RDC's current asset-to-liability

   ratio is $112 million to $113 million.                  In re Rochester Drug Co

   operative,    Inc.,   No.   2:20-bk-20230          (Bankr.     W.D.N.Y.   Mar.   27,




   35 In fact, it appears that the entire class in that case stood to
   gain damages of no more than $8,000.     See Dechert, 333 F.3d at
   802.


   35 See Leitzinger Trial Report It 10(a), 55.

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   2020)/   ECF No. 105, at 1.            And while Merck and Glenmark have

   unsecured claims against RDC and are thus creditors - a point of

   emphasis in Dechert and Merrill Lynch & Co. - Defendants' combined

   unsecured claims make up approximately 6 percent of RDC's total

   unsecured    claims,     and    less    than    5   percent     of   RDC's    total

   liabilities.     Id. at 1, 83 (claim 3.325), 114 (claim 3.480); cf.

   Merrill Lynch & Co., 375 B.R. at 723-24 (noting that Merrill Lynch

   held the trustee's "largest unsecured claim"); DPPs' Resp. Ex. B

   (ECF No.    910-2,   at 5)      (bankruptcy court records showing that

   Merrill Lynch held over $5 million of the estate's approximately

   $7.5 million in total unsecured claims).

         Even assuming that RDC's claim in this case is substantial.

   Defendants argue that this case still does not fall within the

   exception identified in Dechert because "there has been no showing

   that [RDC] is the only available class representative."                      Defs.'

   Suppl. Opp'n 3 (alteration in original) (quoting Merrill Lynch &

   Co., 375 B.R. at 728).         True enough, perhaps, but there is likely

   no entity with the same depth of experience. As previously stated,

   the company has a long record of successful service as class

   representative      in   several     generic    suppression      class   actions,

   including those resulting in three of the largest settlements in

   recent   history,    Hr'g      Tr.   29:6-12;   see   In   re    Namenda     Direct

   Purchaser Antitrust Litig., No. 15-cv-7488 (S.D.N.Y. 2020), ECF

   Nos. 947, 948 ($750 million); King Drug Co. of Florence, Inc. v.

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    Cephalon, Inc., No. 2:06-cv-1797 (E.D. Penn. 2015), ECFNos. 795-

   1, 780 ($512 million); La. Wholesale Drug Co. Inc. v. Abbott Labs.,

   No. 05-CV-340 (D. Del. 2009), ECFNos. 529, 543 ($250 million).

         Although it is a      close   call,   because   of   the   differences

   between this case and Dechert and Merrill Lynch & Co.; RDC's strong

   interest   in   vindicating   its fairly substantial $40.5           million

   claim; Defendants' comparatively small value of unsecured claims

   against RDC; and RDC's proven history of serving as an adequate

   class representative in similar class actions, I find that RDC is

   an adequate class representative in this case despite its ongoing

   Chapter 11 bankruptcy proceeding.        See Wanty, 2006 WL 2691076, at

   *1.


         For the foregoing reasons, DPPs have established that named

   Plaintiffs FWK, RDC, and Cesar Castillo will fairly and adequately

   protect the interests of the class, satisfying Rule 23(a)(4).^7




   37 Although Rule 23(a)(4) by its express terms deals only with the
   adequacy of the ''representative parties," Fed. R. Civ. P. 23(a)(4)
   (emphasis added), the Supreme Court noted in Amchem Products, Inc.
   that the adequacy requirement "also factors in competency and
   conflicts of class counsel," 521 U.S. at 626 n.20 (emphasis added).
   Accordingly, several courts have addressed the adequacy of class
   representatives and class counsel in tandem. See, e.g., London v.
   Wal-Mart Stores, Inc., 340 F.3d 1246, 1253 (11th Cir. 2003) (noting
   that the Rule 23(a)(4) adequacy requirement "applies to both the
   named plaintiff and counsel" (quoting Amchem Prods., Inc., 521
   U.S. at 626 n.20)). In 2003, however. Congress enacted Rule 23(g),
   which specifically outlines factors for courts to consider in
   assessing the adequacy of class counsel. See Fed. R. Civ. P. 23(g)
   advisory committee's note to 2003 amendment ("Until now, courts
   have scrutinized proposed class counsel as well as the class

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         5.    Ascertainability

         In addition to the express requirements of Rule 23, DPPs must

    also demonstrate that the proposed class members are "readily-

    identifiable," or "ascertainable," "in reference to objective

    criteria."    EQT Prod. Co., 764 F.3d at 358.            To satisfy this

    requirement, "[t]he plaintiffs need not be able to identify every

   class member at the time of certification.         But '[i]f class members

   are impossible to identify without extensive and individualized

   fact-finding     or    "mini-trials,"     then     a    class        action     is

   inappropriate.'"      Id. (quoting Marcus v. BMW of N. Am., LLC, 687

   F.3d 583, 593 (3d Cir. 2012)).      Put differently, DPPs must "define

   a class in such a way as to ensure that there                   will be some

   'administratively     feasible   [way]   for     the   court    to    determine

   whether a particular individual is a member' at some point."

   Krakauer, 925 F.3d at 658 (alteration in original) (quoting EQT

   Prod. Co., 764 F.3d at 358).

         As demonstrated by the foregoing discussion, DPPs' proposed

   class is not only ascertainable, but already ascertained.                     Each

   member is known and their purchasing history already documented in




   representative under Rule 23(a)(4)."); accord Bell v. Brockett,
   922 F.3d 502, 510 (4th Cir. 2019) (noting that "Rule 23(a)(4) sets
   out the requirement of adequate class representatives" while "Rule
   23(g) . . . address[es]    the   requirements    regarding   class
   counsel"). Accordingly, I will address separately the adequacy of
   class counsel pursuant to Rule 23(g) below.
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    discovery produced by Defendants.             See Strombom Decl. Exs. 2, 4;

    see also Leitzinger Decl. Exs. 8-9; Leitzinger Rebuttal Decl. Ex.

    3.    Thus, the ascertainability requirement poses no barrier to

   class certification here.


   B.     Rule 23(b)

          In   addition    to    the    Rule    23(a)    requirements,    DPPs   must

   demonstrate that the class action fits within one of the provisions

   of Rule 23(b).         Here, DPPs proceed under Rule 23(b)(3), which

   requires findings that (1) "the questions of law or fact common to

   class    members    predominate       over    any    questions   affecting    only

   individual members," and (2) "that a class action is superior to

   other available methods for fairly and efficiently adjudicating

   the controversy."       Fed. R. Civ. P. 23(b)(3).

          1.     Predominance


          Under Rule 23(b)(3), common questions of law or fact "must

   predominate over any questions affecting only individual members."

   Fed. R. Civ. P. 23(b)(3).           This is a separate and "more stringent"

   requirement than Rule 23(a)'s commonality requirement.                 Thorn, 445

   F.3d at 319 (quoting Lienhart v. Dryvit Sys., Inc., 255 F.3d 138,

   146 n.4 (4th Cir. 2001)); cf. Fed. R. Civ. P. 23(a)(2) (requiring

   only    the    presence      of     common    questions   of     law   or   fact).

   Predominance of common questions over individual issues ensures

   that the "proposed class[] [is] sufficiently cohesive to warrant




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    adjudication by representation."               Amchem Prods., Inc., 521 U.S. at

    623.


           To be clear, the predominance inquiry "is not simply a matter

    of counting common versus noncommon questions and checking the

   final tally."         Soutter, 307 F.R.D. at 214.              Rather, the court

   "compares the quality of the common questions to those of the

    noncommon questions."        Id. (emphasis added); see also Stillmock v.

    Weis Mkts., Inc., 385 F. App'x 267, 273 (4th Cir. 2010) (describing

    the predominance test as "qualitative rather than quantitative"

    (citing GunnelIs, 348 F.3d at 429)).                Accordingly, DPPs are not

   required to prove that each element of their claims is susceptible

   to classwide proof, but only that "common questions predominate

   over any questions affecting only individual [class] members."

   Amgen Inc.     v.    Conn. Ret. Plans       & Tr.     Funds,   568 U.S. 455, 469

   (2013) (alteration in original) (quoting Fed. R. Civ. P. 23(b)(3));

   see also Namenda, 331 F. Supp. 3d at 204 ("'[I]ndividual questions

   need    not   be    absent'   in   order    to certify     a   class   under   Rule

   23(b)(3); the text of Rule 23(b)(3) itself contemplates that such

   questions will be present." (quoting Sykes v. Mel S. Harris &

   Assocs. LLC, 780 F.3d 70, 81 (2d Cir. 2015))); Soutter, 307 F.R.D.

   at 214 ("If the 'qualitatively overarching issue' in the litigation

   is common, a class may be certified notwithstanding the need to

   resolve individualized issues." (citing Ealy v. Pinkerton Gov't

   Servs., 514 F. App'x 299, 305 (4th Cir. 2013))).

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          To succeed on their claims at trial, DPPs must establish the

   following elements: (1) a violation of the antitrust laws, (2)

   individual     injury,    or   antitrust      impact,   and    (3)     measurable

   damages.     See 15 U.S.C, § 15; Am. Sales Co., 2017 WL 3669604, at

   *13.     Defendants      contest    predominance     only     with    respect   to

   antitrust impact.        A review of DPPs' evidence demonstrates that

   common     questions     of    fact    and    law    predominate       over     any

   individualized issues for each element of DPPs' antitrust claims,


               a.    Violation of Antitrust Laws


          With respect to proving that Defendants committed antitrust

   violations, common issues of law and fact clearly predominate over

   individual issues.        In this case, DPPs allege that Merck and

   Glenmark "violated Section[] 1 of the Sherman Act by entering into

   an unlawful reverse payment agreement that restrained competition

   in the market for Zetia and its generic equivalents, and Section

   2 of the Sherman Act by engaging in a conspiracy to monopolize by

   entering into the reverse payment agreement."                 DPPs' Mem. Supp.

   Mot. Certify 22 n.l04; see DPPs' Am. Compl. UH 1-7, 184-214. Under

   Section 1 of the Sherman Act, "[e]very contract, combination in

   the form of trust or otherwise, or conspiracy, in restraint of

   trade or commerce among the several States . . . is declared to be

   illegal."     15 U.S.C. § 1.          Thus, to establish a violation of

   Section 1 of the Sherman Act, DPPs must establish "(1) a contract,

   combination,     or   conspiracy;     (2)    that   imposed   an     unreasonable

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    restraint of trade."          Dickson v. Microsoft Corp., 309 F.3d 193,

    202 (4th Cir. 2002).

            Under Section 2, "[e]very person who shall monopolize, or

   attempt to monopolize, or combine or conspire                    with any other

    person . . . to monopolize any part of the trade" is guilty of an

   offense and subject to penalties.             15 U.S.C. § 2.       Conspiracy to

    monopolize entails the following elements: (1) concerted action;

   (2) a specific intent to achieve an unlawful monopoly; and (3)

   commission of an overt act in furtherance of                     the conspiracy.

   Advanced Health-Care Servs., Inc. v. Radford Cmty Hosp., 910 F.2d

   139, 150 (4th Cir. 1990).

            In seeking to prove that Defendants violated Sections 1 and

   2   of    the    Sherman   Act   by   entering     into   the   reverse    payment

   settlement agreement, DPPs will necessarily rely on evidence of

   Defendants' conduct in connection with that agreement, including

   the terms of the agreement itself, and other evidence related to

   market conditions.         See Sobol Decl. Ex. 32, at 2-3 (ECF No. 737-

   32).     As many courts - including this one - have recognized, such

   evidence is common to the class, for if each member pursued its

   claims individually, it would rely on the same evidence to prove

   the alleged antitrust violations.             See Suboxone, 421 F. Supp. 3d

   at 53; Namenda, 331 F. Supp. 3d at 215; Am. Sales Co., 2017 WL

   3669604,        at   *13-14;   Wellbutrin    XL,   2011   WL    3563385,   at   *6.

   Moreover, proving the alleged anticompetitive conduct ^^does not

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   depend on any legal issue unique to a particular class member."

   Am. Sales Co., 2017 WL 3669604, at *14; see also Wellbutrin XL,

   2011 WL 3563385, at *6 (noting that ''issues of relevant market,

   monopoly     power,    and    exclusionary      conduct . . . focus      on   the

   defendants'       conduct    rather   than     individual     class   members");

   Meijer, Inc., 246 F.R.D. at 308 (stating that proof of alleged

   antitrust violations "relates solely to Defendants' conduct" and

   "will not vary among class members." (internal quotation marks

   omitted) (quoting Lorazepam, 202 F.R.D. at 29)).                   Accordingly,

   common issues of law and fact predominate with respect to proving

   violations of the Sherman Act.


                b.     Antitrust Impact

          The Clayton Act permits only those who have suffered injury

   "by reason of anything forbidden in the antitrust laws" to bring

   suit for treble damages.          15 U.S.C. § 15(a).          Accordingly, DPPs

   must establish through common evidence that they were injured by

   Defendants' anticompetitive conduct.            "[Antitrust] impact often is

   critically important for the purpose of evaluating Rule 23(b)(3)'s

   predominance requirement because it is an element of the claim

   that   may   call   for     individual,   as   opposed   to    common,   proof."

   Hydrogen Peroxide, 552 F.3d at 311.              "To show antitrust impact,

   there must be sufficient evidence to show that the class members


   suffered some damage as a result of [Defendants'] alleged antitrust

   violation."       Am. Sales Co., 2017 WL 3669604, at *14 (internal


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   quotation marks omitted) (citing E,I. du Font Nemours & Co. v.

   Kolon Indus., Inc., 637 F.3d 435, 441 (4th Cir. 2011)).               But at

   the class certification stage, DPPs need only "demonstrate that

   the element of antitrust impact is capable of proof at trial

   through evidence that is common to the class rather than individual

   to its members."     Hydrogen Peroxide, 552 F.3d at 311-12.

           As discussed in detail above, DPPs offer several sources of

   common evidence that they claim demonstrate antitrust impact on a

   classwide basis.      Such evidence consists of "extensive empirical

   economic research concluding that generics quickly replace brands

   at substantially lower prices, with generic prices falling even

   further as the number of generic competitors increase"; "forecasts

   and other documents prepared by Merck, Glenmark and non-party

   generic manufacturers concluding that generic Zetia would follow

   this same pattern, quickly capturing most brand sales at lower

   prices,    with generic prices falling as the          number of generic

   competitors    increases";     and    actual   sales   experience,      which

   demonstrates that "prices fell for virtually all class members

   after    generic   entry,   either   from   substitution   of   the   cheaper

   generic for the brand, and/or getting increased discounts on the

   generic when there were six generics on the market instead of one."

   DPPs' Mem. Supp. Mot. Certify 25-26; see also Leitzinger Decl.

       23-47.   Several courts in other direct purchaser class actions

   have found substantially similar evidence sufficient to satisfy

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   the predominance requirement.              See Intuniv, 2019 WL 4645502, at

   *9-11; Niaspan, 397 F. Supp. 3d at 682-88; Loestrin 24 Fe, 2019 WL

   3214257, at *12-15; Solodyn, 2017 WL 4621777, at *7-8; Am. Sales

   Co., 2017 WL 3669604, at *14-15; Meijer, Inc., 246 F.R.D. at 308-

   10.


          Defendants'       assertions       that     individual          issues     would


   predominate focus largely on their numerosity arguments that the

   brand-only purchasers and idiosyncratic purchasers should not be

   included in the class, either because those members suffered no

   injury   or    because    establishing         injury   is   impossible         without

   individualized inquiry.           See Defs.' Opp'n 29-30.               As discussed

   above, however, DPPs' common evidence is sufficient for reasonable

   jurors to conclude that these members paid overcharges as a result

   of Defendants' alleged conduct.                And any individualized inquiry

   regarding     those   purchasers      at    trial    will        not   overwhelm    the

   proceedings.       See Intuniv, 2019 WL 4645502, at *10; Niaspan, 397

   F. Supp. 3d at 686; Loestrin 24 Fe, 2019 WL 3214257, at *15; see

   also Namenda, 331 F. Supp. 3d at 204 ("'[I]ndividual questions

   need   not    be   absent'   in   order    to    certify     a    class   under    Rule

   23(b)(3)." (quoting Sykes, 780 F.3d at 81)).                      Accordingly, DPPs

   have provided evidence of antitrust impact common to the class

   that will predominate over any individualized issues.

          After the parties submitted their briefing. Defendants filed

   a notice of supplemental authority, ECF No. 911, directing the

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   court's attention to the Third Circuit's recent decision in In re


   Lamictal Direct Purchaser Antitrust Litigation, 957 F.3d 184 (3d

   Cir. 2020).    In that case, the district court certified a class of

   direct purchasers alleging the         same    type    of   unlawful reverse

   payment settlement agreement alleged in this case but involving

   the anti-epilepsy drug Lamictal (lamotrigine).                   Id. at 187-88.

   The defendants GlaxoSmithKline ("GSK") (brand manufacturer) and

   Teva Pharmaceuticals ("Teva") (generic manufacturer) appealed the

   district court's ruling only with respect to the members that had

   purchased    the   generic   drug   from   Teva.      Id.   at    188-90.   The

   defendants argued that the plaintiffs had failed to demonstrate

   that common issues predominated over individualized issues because

   the plaintiffs' proffered proof relied on the use of averages,

   which overlooked the fact that up to a third of the class paid no

   more, or even less, for the generic drug than they would have

   absent the defendants' No-AG agreement.            Id. at 192-93.      Agreeing

   with the defendants, the Third Circuit vacated the district court's

   class certification order and remanded, instructing the district

   court   to    conduct   a    more   rigorous   analysis      concerning     the

   appropriateness of averages in that case.           Id. at 193-95.




   3® The plaintiffs' expert in that case. Dr. Russell Lamb, is also
   the End-Payor Plaintiffs' expert in the present action.
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         Defendants argue that Lamictal highlights the flaw of Dr.

   Leitzinger's antitrust impact analysis as the "common" evidence he

   proposes also relies on averages,            masking   the fact that some

   members may have been uninjured by the alleged anticompetitive

   conduct.    See Defs.' Presentation 30-31.


         Having reviewed Lamictal, I nonetheless conclude that DPPs

   have satisfied the predominance requirement. As an initial matter.

   Defendants do not contend that Lamictal stands for the proposition

   that averages are never permissible.         Defs.' Presentation 31; Hr'g

   Tr. 59:24-60:4; see also Lamictal, 957 F.3dat 194.           Indeed, courts

   in other direct purchaser actions have found the predominance

   requirement satisfied with respect to antitrust impact over the

   defendants' similar objection to the use of averages.              See, e.g.,

   Loestrin 24 Fe, 2019 WL 3214257, at *4-5; Nexium, 296 F.R.D. at

   57-58.


         Moreover, Lamictal arises out of facts materially different

   than those in the present case.            Significant to the defendants'

   argument in that case was the existence of a unique contracting

   strategy involving a "nuance in the anti-epilepsy drug market."

   957 F.3d at 189.         Although GSK acknowledged that its reverse

   payment     settlement    agreement   with     Teva    prevented   GSK     from

   launching    an   AG,    GSK   "had   long    been    concerned    about    the

   effectiveness" of       an AG because doctors appeared        reluctant to

   change their patients' epilepsy medication, such that "those who

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   started patients on brand Lamictal would be less inclined to switch

   them to a lower-price generic once one launched."              Id.   In order

   to compete with Teva once it launched what GSK assumed would be a

   lower-priced generic, GSK developed a contracting strategy whereby

   it would offer targeted pharmacies "significant discounts and

   rebates if they agreed to sell brand Lamictal instead of Teva's

   generic version."     Id.     However, Teva discovered GSK's plan before

   launching    its    generic    version.      Id.     As    a   result,   Teva

   "preemptively lowered its lamotrigine prices in order to compete."

   Id. (emphasis added).

         The   Third    Circuit      found    that    the    district    court's


   predominance analysis overlooked this key fact, which tended to

   show that those entities that purchased the generic drug during

   Teva's six-month exclusivity period did not sustain overcharges.

   That is to say that even if GSK had launched an AG the same day

   Teva launched its generic version, the price of the generic version

   would not have been any lower than what those purchasers paid in

   the actual world because Teva had preemptively lowered its generic

   price to compete with GSK.         This reality was detrimental to the

   plaintiffs' theory of liability, which, "at least with respect to

   those entities that purchased lamotrigine from Teva during the

   six-month period, [was] premised on the principle that, on average,

   the price of a generic is lower when there are two generics rather

   than just one."        Id.      Nonetheless,   the district court never

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   considered "the effect of GSK's Contracting Strategy on each Direct

   Purchaser."      Id. at 193.


          During    oral    argument        in     this    case,      Defendants'     counsel

   attempted to liken this case to Lamictal, arguing that "Merck also

   engaged    in    an     aggressive       contracting          strategy"      of   offering

   "significant discounts," which essentially had the same effect as

   an AG in driving down prices.                 Hr'g Tr. 61:16-62:16.            Thus, even

   if Merck had launched an AG in the but-for world, the generic price

   would have been the same, and any attempt to prove otherwise would

   require    individualized          inquiry.            However,     this     "contracting

   strategy" - which Defendants never raised in their briefs - simply

   does not compare to the one extensively litigated in Lamictal.

   Defendants have not presented any evidence that this case likewise

   involves some "nuance" in the market for ezetimibe, or any other

   persuasive      evidence      as   to    why    the     use   of    averages      would   be

   inappropriate here.

          Furthermore, in Lamictal, the district court's failure to

   consider the contracting strategy resulted in the possibility that

   as many as twenty-five of the thirty-three generic-only purchasers

   suffered no injury (nearly one-third of the class).                          957 F.3d at

   192-193.        Prior    to    the      Third      Circuit's       ruling.   Defendants'

   predominance argument in this case was aimed at the five brand-

   only   purchasers       and   four      idiosyncratic          purchasers      identified

   above.     And as this report has already concluded, DPPs' common

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   evidence is sufficient for a jury to conclude that those nine

   members suffered injury, and that such evidence would predominate

   over any individualized issues.           The Third Circuit's decision in

   Lamictal, which presented a very different factual background than

   this case, does not alter this conclusion.              As a result, DPPs have

   established that "the element of antitrust impact is capable of

   proof at trial through evidence that is common to the class rather

   than individual to its members."           Hydrogen Peroxide, 552 F.3d at

   311-12; see Intuniv, 2019 WL 4645502, at *9-11; Niaspan, 397 F.

   Supp. 3d at 682-88; Loestrin 24 Fe, 2019 WL 3214257, at *12-15;

   Solodyn, 2017 WL 4621777, at *7-8; Am. Sales Co., 2017 WL 3669604,

   at *14-15; Meijer, Inc., 246 F.R.D. at 308-10.

               c.     Measurable Damages

         Finally, DPPs must demonstrate that "damages can be reliably

   measured on a class-wide basis."           Am. Sales Co., 2017 WL 3669604,

   at *15 (citing Comcast Corp., 569 U.S. at 35).              To be clear, DPPs

   are "not required to prove damages by calculating specific damages

   figures for each member of the class, but rather they must show

   that a reliable method is available to prove damages on a class-

   wide basis."      Wellbutrin XL, 2011 WL 3563385, at *14.              And that

   methodology      must   be   consistent    with   the    purported    theory   of

   liability.       See Comcast Corp., 569 U.S. at 35.               Assuming an

   appropriate model is put forth, "the need for some individualized

   determinations" is not fatal to class certification.                 Nexium, 777


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   F.3d at 21; see also Am. Sales Co., 2017 WL 3669604, at *16 ("The

   fact that individualized inquiry may be necessary to allocate those

   damages will not defeat class certification." (citing Cardizem CD,

   200 F.R.D. at 348)).

          Here, DPPs offer Dr. Leitzinger's "formulaic approach to

   measure Class-wide overcharges," which relies only on evidence

   common to the class and requires no individualized inquiries.

   Leitzinger Decl. HH 51, 62.       Dr. Leitzinger begins with developing

   "benchmarks" for but-for world market performance based on "actual

   experience at a market-wide level drawn from data produced by

   Defendants    and     other   manufacturers   or    from   their    collective


   projections about the impact of generic competition on prices."

   Id. H 51.     More specifically, using the actual sales experience

   following generic entry. Dr. Leitzinger calculates the generic

   penetration rate, the average generic discount relative to the

   brand price, and the average brand discount resulting from generic

   competition.     Id. HH 50-51, 54-60; DPPs' Mem. Supp. Mot. Certify

   29.    He then "backcasts" those benchmarks to the delay period to

   estimate brand and generic purchases (i.e., prices and quantities)

   in    the   but-for    world,   allowing   him     to   calculate   aggregate

   overcharges during the delay period and after generic entry on a




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   classwide basis.        Leitzinger Decl. %% 49-51, 55-61; DPPs' Mem.

   Supp. Mot. Certify 29.

         Courts in other delayed generic entry cases have approved of

   Dr. Leitzinger's same basic methodology.           See, e.g., Loestrin 24

   Fe, 2019 WL 3214257, at *15-16; Am. Sales Co., 2017 WL 3669604, at

   *15-16; Lidoderm, 2017 WL 679367, at *12; Wellbutrin XL, 2011 WL

   3563385, at *14-16; K-Dur, 2008 WL 2699390, at *14-15; Meijer,

   Inc., 246 F.R.D. at 310-13.       In light of this and the fact that

   Defendants do not contest this issue, DPPs have met their burden

   of   demonstrating   that   damages    can   be   reliably   measured   on   a

   classwide basis.


         Having shown that evidence common to the class predominates

   over any individualized issue with respect to each element of their

   claims, DPPs have satisfied the predominance requirement.

         2.    Superiority

         Finally,   DPPs   must   demonstrate    that   ''a   class   action    is

   superior to other available methods for fairly and efficiently

   adjudicating the controversy."         Fed. R. Civ. P. 23(b)(3).        This

    superiority" requirement ensures that proceeding by class action




      Dr. Leitzinger's damages model accounts for "how different
   determinations by the jury of the but-for entry dates would affect
   overcharges," Leitzinger Decl. HH 66-67, and it permits him to
   easily identify and remove overcharges attributable to the
   retailer plaintiffs as well as generic Zetia purchases from Par,
   Leitzinger Rebuttal Decl. ft 22-23.
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   will    ''achieve     economies       of    time,     effort,       and     expense,    and

   promote . . . uniformity             of    decision    as     to    persons       similarly

   situated,       without    sacrificing       procedural       fairness       or    bringing

   about other undesirable consequences."                  Amchem Prods., Inc., 521

   U.S.    at   615.     To   determine        whether    DPPs      have     satisfied    this


   requirement, the court "must compare the possible alternatives to

   determine whether Rule 23 is sufficiently effective to justify the

   expenditure of the judicial time and energy that is necessary to

   adjudicate a class action and to assume the risk of prejudice to

   the    rights    of   those    who    are   not directly           before    the   court."

   Stillmock, 385 F. App'x at 274 (quoting 7AA Charles Alan Wright,

   Arthur R. Miller, & Mary Kay Kane, Federal Practice and Procedure

   § 1779 (3d ed. 2005)).

          To help guide the court's analysis. Rule 23 provides a list

   of four, non-exhaustive factors: (1) "the class members' interests

   in individually controlling the prosecution or defense of separate

   actions"; (2) "the extent and nature of any litigation concerning

   the controversy already begun by or against class members"; (3)

   "the    desirability          or   undesirability           of     concentrating       the

   litigation of the claims in the particular forum"; and (4) "the

   likely difficulties in managing a class action."                        Fed. R. Civ. P.

   23(b)(3); see also Fed. R. Civ. P. 23(b)(3) advisory committee's

   note to 1966 amendment (stating that the four factors are non-

   exhaustive).


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         Defendants do not contest superiority in their opposition

   brief.    However, they devote one slide of their forty-four-slide

   presentation    to       the   issue,   arguing,      for    example,    that   those

   individual members with large claims ^*have a strong interest in

   controlling    the       prosecution     of    separate       actions"    and   that

   "[m]anaging a class action will introduce difficulties given the

   need for individualized inquires."             See Defs.' Presentation 32.

         Even considering Defendants' late superiority challenge, a

   comparison    of     a    class    action     to    its     possible    alternatives

   overwhelmingly demonstrates that a class action is the superior

   means of adjudicating DPPs' claims.                First, ''the presence of large

   claimants in a proposed antitrust class and the possibility that

   some of them might proceed on their own does not militate against

   class certification."           Cardizem CD, 200 F.R.D. at 325 (quoting

   Paper Sys., Inc. v. Mitsubishi Corp., 193 F.R.D. 601, 605 (E.D.

   Wis. 2000)).    Indeed, "the text of Rule 23(b)(3) does not exclude

   from certification cases in which individual damages run high."

   Amchem Prods., Inc., 521 U.S. at 617.                     Moreover, the evidence

   discussed above shows that the class also includes several members

   with fairly small claims such that they would have little to no

   interest in "litigating separate actions . . . that would be both

   complex and expensive."           6 William B. Rubenstein, Newberg on Class

   Actions § 20:54 (5th ed. Dec. 2019 update).                   Consequently, "class

   resolution will ensure that all affected and properly certified

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   class members are able to pursue valid antitrust claims where they

   might otherwise be financially prevented from doing so."                   Am. Sales

   Co., 2017 WL 3669604, at *17.

          In addition, as noted above, this case involves complex issues

   of law and fact common to the class and which predominate over

   individual issues.         Accordingly, proceeding as a class action is

   not only manageable, but also "provides the opportunity for an

   efficient resolution of these substantial issues for the entire


   class in a single forum."           Meijer, Inc., 246 F.R.D. at 314; see

   also Cardizem     CD, 200     F.R.D. at 326 ("[P]roceeding                 with this

   consolidated     multi-district litigation as a class action will

   achieve economies of both the litigants' and the Court's time,

   efforts and expense.").           It substantially mitigates the risk of

   several individual         actions and,        consequently,      "the    specter of

   inconsistent adjudications."          Meijer, Inc., 246 F.R.D. at 314; see

   also   Stillmock,     385    F.   App'x    at    275    (observing       that   "class

   certification     promotes        consistency      of    results,    giving       [the

   defendant] the benefit of finality and repose" (citing Gunnells,

   348 F.3d at 429)).

          Accordingly,    a    class    action      is     the   superior     means   of

   adjudicating DPPs' claims.           This finding is consistent with the

   holdings of other courts in similar cases.                    See Am. Sales Co.,

   2017 WL 3669604, at *17 ("Although class litigation departs from

   the    general    rule      that     individuals         pursue     their       claims

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   individually, in the complex context of delayed generic entry the

   benefits of Rule 23 have been widely recognized." {citing cases));

   In re Flonase Antitrust Litig., 284 F.R.D. 207, 234 (E.D. Penn.

   2012) C'l agree with the vast majority of district courts that in

   a delayed generic entry case such as this, class action treatment

   is superior to other available methods of adjudication.").

   C.    Rule 23(g)

         Lastly, DPPs seek to confirm Hagens Berman Sobol Shapiro LLP

    C'Hagens Berman") as lead counsel for the class.       DPPs' Mot. Class

   Certification 1; DPPs' Mem. Supp. Mot. Certify 21.              Pursuant to

   Rule 23(g), the court previously appointed Hagens Berman as lead

   counsel and interim class counsel for the proposed DPP class,

   Pretrial Order No. 3, at 1-2, 4-5 (ECF No. 105), as well as lead

   counsel for the Par Settlement Class, see R. & R. 6 (ECF No. 668);

   Order 4 (ECF No. 711) (adopting report and recommendation).            Given

   the court's previous finding that Hagens Berman has the "necessary

   expertise,    resources,   and   experience   to   represent"    the   DPPs,

   Pretrial Order No. 3, at 2, I recommend that the court confirm

   Hagens Berman has lead counsel for the DPP class in accordance

   with Rule 23(g).

                      Ill. Conclusion and Recommendation

         For the foregoing reasons, I recommend that the court GRANT

   DPPs' Motion to Modify Their Class Definition, ECF No. 812.               I

   also recommend that the court GRANT IN PART DPPs' Motion for Class


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   Certification, EOF No. 735, by further amending the modified class

   definition to exclude entities that purchased only generic Zetia

   from    Par,    in accordance      with   the court's   previous   order,   and

   certify a class of thirty-five direct purchasers.

                                IV.    Review Procedure


          By copy of this report and recommendation, the parties are

   notified that pursuant to 28 U.S.C. § 636(b)(1)(C):

          1.      Any party may serve upon the other party and file with

   the    Clerk    written     objections    to   the   foregoing   findings   and

   recommendations within fourteen (14) days from the date this report

   is forwarded to the objecting party by Notice of Electronic Filing

   or mail, see 28 U.S.C. § 636(b)(1), computed pursuant to Rule 6(a)

   of the Federal Rules of Civil Procedure.             Rule 6(d) of the Federal

   Rules of Civil Procedure permits an extra three (3) days, if

   service occurs by mail.         A party may respond to any other party's

   objections within fourteen (14) days after being served with a

   copy thereof. See Fed. R. Civ. P. 72(b)(2) (also computed pursuant

   to Rule 6(a) and (d) of the Federal Rules of Civil Procedure).

          2.      A district judge shall make a de novo determination of

   those       portions   of    this    report    or    specified   findings    or

   recommendations to which objection is made.

           The parties are further notified that failure to file timely

   objections to the findings and recommendations set forth above

   will result in a waiver of appeal from a judgment of this Court

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   based on such findings and recommendations.              Thomas v. Arn, 474

   U.S. 140 (1985); Carr v. Hutto, 737 F.2d 433 (4th Cir. 1984);

   United States v. Schronce^ 727 F.2d 91 (4th Cir. 1984).


                                                    lii!8ri4M^
                                       Douglas E. Miller^
                                       United States Magistrate Judge
                                     DOUGLAS E. MILLER
                                     UNITED STATES MAGISTRATE JUDGE


   June 18, 2020




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